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Case 1

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0 0 0 0 0 0 0 0 0 0 a 0 sn N3ASLS ‘SNSHd3LS ESELPS
0 QO 0 Q 0 0 0 Q 0 0 0 0 sn GaP 'ABAVHS ObELb9
lo 0 0 a Q 0 0 Q Q 0 0 Q sn NAMD9 'SSNOP £2609
0 0 0 Qo 0 0 0 a a 0 0 0 ya BYVVy 'dNVLS ZezSpecole
0 0 0 Q 0 0 0 Qo Q Qo 0 Qo as NHOP ‘NOSSTHVH PB606SP0re
0 0 Q 0 0 0 Qo 0 Q 0 0 0 ld SWWOHL ‘LOSLSHdOVs ce9pzEezoze
0 0 0 0 0 0 0 0 0 0 0 0 sn AWSYSE 'NNATS 1222~9
0 0 0 0 0 0 0 0 0 0 0 0 sn NSS THLYY "YANUYM 0222b9
o 0 oO 0 0 Q 0 0 oO O 0 o go VINVW VNNV 'TYVW 106227988
0 0 0 0 0 0 0 0 oO 0 0 Oo ya 3SINOT SIMWW 'NASNAP ZbSP9ceolE
0 0 0 0 pe Zeb O pe cpl 0 0 0 0 0 us 3ISSAP "SHLWd S626990292
‘0 0 0 0 Q 0 Q 0 0 0 0 0 sn TAVHOIW 'HS1SS3» P8019
0 0 Q 0 0 0 Q 0 0 0 0 0 as NIN ‘OUAEGNNS ZbShZSbOre
0 0 0 0 0 0 Q QO 0 Q 0 Q as SUT ‘TIVHAOSA 99680SP0be
0 0 Q 0 0 0 0 0 0 0 0 0 sn NNV 'LLNOD SE6b>9
0 0 0 0 0 0 0 0 0 oO 0 0 sn TTANSHO ‘L109 bZ6rr9,
0 0 0 0 0 oO 0 0 0 0 0 0 wa BINVW SONI 'NASNVH Z68Z2PEE018
0 0 0 Q Q 0 0 0 0 0 0 0 sn V ALLANNVP 'YaSNVS CBZbP9
0 0 0 0 0 0 0 0 0 0 0 0 sn J TAMuvG | OANINIC BS9Eb9
0 0 0 0 0 0 0 0 0 0 0 0 sn UY TSVHOIW 'S0Vd +P9t~9
PLL vL'bL 0 0 0 0 0 0 0 0 0 0 sn NYWSN ‘IGYN Zz0e9
0 0 0 0 0 0 0 0 0 0 0 0 sn W SIOSIN 'HASVLS 600Er9
0 0 0 0 Q 0 0 0 0 0 Q 0 3d VIDINLVd ‘SHOINAGSIG L2zoez9068
0 0 0 0 Q 0 0 0 0 0 0 Q N 1aLOT ‘IHOWAV Z2S12S€008
00S 0 00s 0 OoL 0 ooL 0 0 0 0 0 sn VYNVALVL ‘VNIGNVWY Szeog6t
lo 0 0 0 0 0 0 0 0 0 0 0 il OLYSI1D HOIABIHDYSO LebzLoo0ez
0 o 0 0 a 0 0 0 0 0 oO 0 il MSONVKS Tv 'MAENH Lsespooos.
0 0 0 QO 0 0 0 0 0 0 0 0 vo VINIDUIA ‘IHSDOW S60LP9
0 0 a 0 0 0 0 0 0 0 0 0 sn NIGOU 'YSONVX3TV 69019
0 0 0 0 0 0 0 9 0 0 Q 0 3a WIAINVO '"MOLSWHOS ¥962€79068
0 0 Q 0 0 Qo QO 0 Q 0 0 0 iv FLUNG 'SWIZNAd 28471 Z0002
0 0 Q 0 0 Qo 0 Q Qo 0 0 0 wa N&ST3IN SLOIGSN3G BLS6REEOLe
0 0 0 0 0 Q 0 0 oO 0 0 0 ON MAONI 'NASINONSG SLLLELZOZ8
0 0 0 0 a 0 0 0 0 Q 0 Q SNIMLSININ HYYAW SO SSNOH JO SGNAIYS 629961
0 0 0 0 Q 0 0 0 0 0 0 0 sn S3Wv? 'HOVENSLIy bblZ99
0 Qo 0 a 0 0 0 0 0 0 0 0 sn ZCINNTO 'NVLIdN10 685999
oO 0 0 0 Q 0 0 Qo 0 0 0 Q sn VISONV ‘TIALLY 661999
0 0 0 0 0 0 0 0 0 0 0 0 sn Nay 'NOSXIG LLpr99
0 0 0 Q 0 Q 0 0 0 Q 0 0 sn SONV1 ‘MOF1d4v OL byso
0 0 0 0 0 0 0 0 0 0 0 0 3a SNYUYVW 'YASHOS 996629068
0 0 0 0 0 0 0 0 0 0 0 0 yd N3@uOL 'WATYON Lbzzeecole
0 Q 0 0 0 0 0 0 0 0 0 0 3a VUONVS ‘LONVSIONH 120629068
lo Q 0 0 0 0 Q 0 Q 0 0 Q sn f SINN3 ‘LINWASHNOS 002699.
0 0 0 0 0 0 0 0 Q 0 0 0 3a SIS 'NNVINHVd os8zz9068
0 0 0 0 0 Q 0 0 0 0 0 0 sa TaVAVY VINWW ‘YNIIOW ONALNOW ESLESLOLEL
0 O 0 0 0 0 0 0 0 O 0 0 ud SWIXVW 'HOVEWS1 Le9e990/92
0 a 0 Qo a 0 QO 0 0 0 Q 0 .N SINAOV S31VS 0931 88tzZSe008
0 0 Q 0 a 0 0 0 Q 0 0 0 1N WOId “YFOSAZTAA ezz9zgE008
lo 0 0 0 0 0 0 a 0 QO 0 0 ga YVWSACTWM 'AOWITHOS 8092929068
0 0 0 0 a 0 Q 0 0 Qo 0 0 sn ANH ‘NV 00Se89
0 0 0 0 0 0 0 0 0 0 0 0 sn N Hd ‘NvHd Zevess
0 0 0 Q 0 0 0 0 0 0 0 0 sn H LYae Tv ‘Wi 92p889
0 0 0 a 0 oO Qo 0 0 0 0 0 sn 1 GIWNOG 'L4ONxX909 186989
0 Qo 0 0 0 0 0 0 Qo 0 a 0 ya SUFONV 'NASHAGSd GUVVOYNALSSA LOGPOrEOLS
0 Q 0 Q 0 Qo 0 Q Q 0 0 0 3a LUAGYSH 'NUALLVW SZtezzg068
0 0 0 0 0 Q 0 a 0 0 0 0 sn @ NILSNV 'NOGUVaY 068s89
0 0 0 0 0 0 0 0 0 0 0 0 ad NV33.LS ‘NNVW3S3H 6€22129068
lo 0 0 0 0 Q 0 0 oO a 0 0 ao NIW ANOS ‘SMSYadNW reZZL0288
0 0 Q 0 0 Q 0 0 0 0 0 0 sn 143 "SVWAH 728869
L9LL LO LL 0 0 0 0 0 0 0 0 Q Q sn 3 AMV ‘3109 S9Lz99
0 0 0 0 0 0 0 0 0 0 0 0 sn STISHOIW 'SGNVMG 6th289
0 0 a 0 0 Q 0 Q Q Q 0 0 1d ¥WI1 ONVINOUSH OGYYNYAG ‘VLINDSSIN B60SELOZLZ
0 0 0 0 0 Q 0 0 0 0 0 0 ld GINVHO ‘INH! L6Z96z0z8
0 0 9 0 0 0 0 0 0 Q 0 0 sn AS1LSSM “10d! 812299
0 0 0 0 seep 0 Seep 0 0 0 0 Qo 1d JONAW S3dO7 OONWNYSA O1NVd 'OLIOD ZhLSLLOLEZ
0 0 0 0 0 a 0 0 0 0 a 0 Yd JAW 'SWHAZ 2122990492
0 0 0 0 0 0 0 0 0 0 0 0 3a VUYONVXSTY 'YSNDVM 10ze279068
0 QO 0 Q 0 0 0 0 Q 0 Q 0 sn O71 “LN3A3 SNOAOr ¥ PEESIEL
0 Q 0 0 0 0 0 0 Q 0 0 Q vo MV YAaZVeS 'ONIMIND 02299
0 Q 0 0 0 0 0 Q Qo 0 0 0 as NVd3LS 'OTS4NANVE ZpeLeSrore
0 0 0 0 0 Q 0 0 0 0 Qo 0 sn LLLWd "YSONIMYAG 26¢~99
ooL 0 oor 0 0 0 0 0 0 0 0 0 sn QSVWOHL ‘Ill TIVH 2ez9961
0 0 O 0 0 0 0 0 0 0 0 oO iv NNVHOP 'H3ONINHANd $8220Z0002
10 0 0 Q 0 0 0 0 Q 0 0 0 sn S$ Wit ‘ONIOWd 601169
0 0 0 0 0 QO 0 0 0 0 0 0 sn NIAZY 'WeV19 908999
0 0 Q Q Q 0 0 0 Q 0 0 0 sn V MISVHS ‘THNOZV 1S0S99
0 0 0 0 0 0 0 0 9 oO 0 0 sn WYNNY 'N3G10H 2Sbb99
o 0 0 0 QO QO 0 0 Oo Q 0 0 3d VIGNW19 ‘IHSMATYMOX pzasaz906e
0 0 0 0 0 Q 0 0 0 0 0 0 30 OYsOr 'NAASW SL0629068
0 0 0 0 0 0 0 0 0 0 0 0 sn OWvdv 'SSHNON s69999
0 a 0 0 Q 0 Q 0 Q 0 0 0 sn 3 GAOT 'SLIHM 69999
lo 0 0 Q a 0 0 0 Qo 0 0 0 sn ANILSNONV 'SLNOD 689599
10 0 0 0 0 0 0 0 0 0 Q 0 sn 9 YasINNAr 'NH pe9sso
0 0 0 0 0 Q Q 0 0 0 Qo 0 aa WHOSVS ‘AVN p99E6z9068
0 0 0 0 0 0 Q 0 9 0 0 0 wa ANNVS 'NVW10» Lz006ec018
0 Q 0 0 Q 0 0 Qo 0 0 Q 0 sn @ SNNVXOU ‘GHVNUva bZPb99
0 Q 0 0 Q 0 0 a Q Q 0 0 ya IMSNGANS STHVC ELL BECOLe
0 0 a 0 0 0 0 0 0 0 0 a ON OevVDAddO HLS8VSINS NILSINH 6ZE891Z028
oO 0 0 0 9 0 0 0 0 0 0 0 as ANAOW 'NOSSONITIA ZSeSZspors
0 0 0 0 0 a 0 QO 0 0 0 Q sn H SNIHdaSOr ‘aMOd eszs89
9 Q 0 0 0 Qo 0 Q Q 0 0 0 ad Vuldd ‘Sanvd 2-po6z906e8
10 Oo 0 0 0 0 0 0 0 Q 0 o sn NILSNP ‘LBOd 80S069
0 0 0 0 0 a 0 0 0 0 0 0 iv VOINNA 'CINHOS brLStzoooL
Oo 0 0 oO 0 Q oO 0 0 oO 0 0

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Case 1

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eocosoosoesaeSooOSGo COC eO BOO OBO OOOO OOOO OCOD OOOO OC OOO OC ODOC O OC OOOO COO OCT OOOO OOOO O DOO COO OCOC COC OOOO OOGCOOGOD0R0

ego eaggg 99S 9D CDC B OB OC AOD ASOD AGCOCO CODCOD OD ORAGDCOGOCBGOGGD OOOO ODOC OO OD COD OC OCOOCOD OOOO oO ODD BAe OOGC0CGa

SL

SOPH FPBPQPASIP®SPSASGS9DADGSOSC SSO SOCOD AOSD OO OOO COO gOS BD OOD OOCOCO DAUD OO G OD OD COG ODDO OD OSG OG OBB OCOD D0D oD OOOGDCGD
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SSOCDDACADBDCDDODODOFCOGCOCOoOC OBC OC OOD OOO OOO OOOO OOOO COC ODDBD AO OOGOOC—ODO

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es9s9090 90D BDO OoOBGO OCC oO OOO OeC AO OOO COC OC oOOoOD

esoconcseoc0990950C9CBC COO oOo OOB BOB ADOC OCC BC OOO OOOO OOOO OOOO OOD OOOO OOOO ODO OD OD ODOC OCO OOO OOOO OCOGCO oO OOOO COGCD

S99S900A0DSFDDAGDGCDDAOOOGODAODODODOOAOOOCAOOC GOO OOOO COC OOOOOCBoAOAOSGOAGGOOOoO)D

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SSSOSCABSSGGCADAOGDOCACDO ODO OOOO ODA G OOO GOCGOGD

egg escaggef foo SoD OCOD DBO OCOD D OOO GCeCOOoOOHMODD ODDO BODO ODO ODO DOOD OOO OAD DODO OeC ODOC ABAD D AOC OOO CAODDOOBeCOCCoG

eeeseeeseoc9eoSSeSC ONO OSG O SOO OO SoS OOoO OOOO OOOO OOO OO BOO ODO OOO OOO A OOO OO CO OOOO OOO COB OO OO COO OOOO OCOCOO DOO OC OoOOGe

lOoSSPSONDSSFCA9SCACOADGDADGDOOSFDBOBO OOOO OADOBD ODDO CACC O OOO COCO OOOO OOOO OOOO OOOO OOO GOO OOOO OC OO DOOD DOO ODOC OOo OGCGOO0D0

JOSEP SSBSS9G9SPDFDGCGC OFC SGSGOOODOOODOOBOOAOC AC OOO OOOO BC OOOO OOOO OAD OOOO OO OKGD OO OG ODO OO C DO OC OCC COO OO COAG eC OOOO aGCO00

eoseeso0909FDcC DFO OOoOKOOOoDo OSD OOOO G oa OOD OBO OOO GD OOO OOOO oOoOO OOO OO FOOD OOOO OOO OD OOD OBO OOOO A OOOO COCO OCOCOGGG—OD0

WPNOS ‘ANTIOM Z6€ZZ19068
wuld 'NNVWY3ONs FOLL9z9068
GUVHOIY 'NSYYWM £67829

1Y38ON 'ONISNS1 pezsze9068
GNW4L1303 'Y3INHOS 918b0z9068
1 AV 'AGNNW 66£689
AVWIGAT ‘WZNVYNVO 125289
SITANNV ‘LY3931S 1219619068
A ONMHd ‘NSANON Seeesg
W1SH1IM HOIWNGaINS 'NSNISd 67979068
NHOor 'NVWNve 878989

GaINSIM 'ZLNd 68ZbEz9068
IVH ‘SOON NSANON p90lzz0szZZ

LIDUIG ‘TABON S1se2L9068

NNWWO109 sepz9zo068
LYASYON “WHIId Z20S0z0002
SNAVM 'WVYONA 92689
SITYWW ‘THO 2918179068
N3ONZOr 'NSSN3 Looesecors
GAONI ‘WNYROS O1eselZoze
G1vuad ‘3y3I0 0szs619068
NVILSINHO ‘GNVULS S9P6Z1Z0/8
TAVHOIN ‘MOIW ZES01z9068
ONUV 'NNVINHOIM Ogeso09068
NWHLWNO?P 'NVISVuVS b9r889
3 SLL3DYORO 'SSTLNAO sopesg
f1NVd ‘AGSNN3Y £6S289
NALSUIM ‘TADVNOL 4085279068
TaVHOIN ‘1138 8SLE69
Vuldd "YS THNIM 0F09219068
OFINALLOD ‘MOOLSNASON 7668b00082
Odds ‘OTISUOW ZeE0Sz79068
3 YSHdOLSINHD 'SYNYWM 290169
 SIUWy 'AZNIT 606989
ANNVINVW 'SYLUSPH 7271512028

INJBANIONS N3 SILOSISS ‘DNIAYAM “L'O'M SbhZ8092008

3 SLNV 'VN3Z 80889
TWW3 ‘WIXIGTIA $2h6279068
O1OVdNVvID '373NI Zs92bo0082
HLIGSYAW ‘LLANNAS 9P6989
SVWOHL ‘S¥ZLVM ObeStz9068
SYOFIO 'AWSY SbSL9z9068
Wa 1V1I8 ‘GOOWHWW 91 bSz00z68
VXINOW 'HLOY Loe9sis068
TSONVW ‘NVA TIW 8ZLoEge008
41439 'NSSUV1 00LPOreOLe
43SOP 'Y3OSOLS 9908120002
OINSLUY ‘VUISHOW B9ezoLozes
LSUOH 'NISY 0666879068
MHLW 'NVINNON 8bL699
NILUWW ‘T1auuv4 §z0899
W AWW WNNV 'AZAUNVH 611999
USHdOLSINHO ‘SAIWY3d 9EEb99
VEONVL ‘VEUVIC LEL6S90L92
WVITIIM ‘38nd popLzLozes
WIL 'OSINVMOHO SS699
Y SNILSINHD 'NVAY OzEOzZOSzZ
N ATINAD 'AZYWd 9197990292
“Y NINVPN3S 'YSNHOSYSNy Bl69Lz9068
NNVSUG 'NSLYMAG 801999
TAINVG “WvIDVW 990899
INAUL ‘OYNENAYTWANVA 6LEb99
W NVSTUSA 'NOSYSONSH €Leb99
3N313H AN 'NSSNVHOP 9€b2Z1 42028
HAO Yad 'NASGUVVE +290b12028
GNVWYLYO 'YSLSNHOS LS/21Z0002
STAN ‘AS TYVH 195699
HINNOO 'NASHIGOS L9Z66ee018
WVITIIM ‘ONIAO1 §5S699
Nau ‘MOOGYNW 006299
ADDAd ‘TWYSWWNS £5299
3 SNNV-3INNOT ‘ANVAYOOW 66P299
1 A3SV9 'NOSNZP 011999
GNOSVr ‘AGW b6L699
WdOUd -LI B6rOREEOLB
ABOWLS 'NVWM3N 125229
SNSSf 'ZANILUVW S08Z29
SNDINOW ‘LNOHANIT Leosoge008
Ola “SNSHd3LS OL8LZ9
OTT 'SWALSAS SES LOZLZ9
© IdOvr ‘HSIN! $80LZ9
N3ONVH WHOL LE2b81Z028
ANIGVS '‘IFONWdS espEzg068
HLNY IHLVABY 'ANZL3OO 6949829068
SLLOTASI1 ‘NASNALSINHS LZ6B6EE018
W SOr ‘Z3AWHO 655599
NIMS 'ASNOHWW 09129
HV4WS ‘3100d 121999
G WOL ‘XONN31 P8L699
YVWACTWM 'SVWH 2925279068
ANOL ‘OGVNOGIVW Z9s999
GIAVG 'NVWaaus 096999
ANOHLNY “S3HLOYOG 980£990292
NNA1‘Z9qINuNS £28r99

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Case 1

DOODOSOSOOSDODOOSO OOO OUD OOD OOOO OOOO OO OOOO DOO OOO OO OO OOOO OOOO OeODODOOOD SSS SSSSOSCSCSGSCSCNSOSCHSOSSOSOCNOSSeSASSO ae oof
CoCo DC ODD D OOO OO OOOO OCOD OC OOD OOo OOO DOO O OO OOOO O DODO OOD OOOO OOOO oOOOODO OO OOO BOBO C OOD BOO OOS BOO O OB OO fof OS

LW YS1LI3 VIAIS ONNLISEYVABHOVNOAGIA 2996020002

IN

M Jona 'WWHYO3d LZE99
N3HdaLS ‘ASANOD beb79278e8

1LYAEON ‘SNOTWS £59699
WwOSvVd ‘WONHOS Lzespl906e

CP MSHLLYW 'G3IdtAdS €0ZEL9

TSVHOIW ‘GuvE 082299
SIN OMGNYPATY ‘SSYOTS OATVS B2rz9102E2
VYNIINVLYY 'IHSIANONS yorzeoeoza

f GQTWNOU 'CIVNOG OW 62e299
QV HUNLVS dO BZOvESOre
YAdSSP ‘GUVWOUTGAN zs6z8cc018

QNHOP 'LLYAH-AUNEWS SZzp99

a NOUVG 'SuVv19 18zE99
OW ‘ITIaNVONN 88261 20Sz22

SO. NNA1'SNINdOH FEPZ99
V GIAVG ‘SINWING 220Lp2ze88
BISVH MOIN 'NSSN3P L9EZBEEOLS

ANOS 'SUSLTWM b8bZ99
MIVW 'NSOYSEHISUIH SSOv6z9068
SUV] ‘CUVVDUIPH p9sZseeole
SVANGNY 'HS9ZLAW 9987579068
VWUVS ‘NVWHSNDOE Le7zsrEazoze

AVYAANS9 'GYNOTd 60%z99

GS3SINN 'SVYSAVL Z2E799
SNNVH 'NNVWA3GIL 29P6ZE6018
WIM ‘dITIIHd ZO9Z8EE01L8
ALLANW/NHOP NASN2f EZLE8EE018
ANNOAA ‘WUISIAIO 2S+Z9€008

WSN3 IHDIVE 06 L699

TAVHOIW 'SIMVNVIV9 822Z99

VVIOINLWd 'HLINS SPEz99
SUV1 'SNSrPGONIT ZO6LSEEOL8

1 NHOF 'NIMGOOS 69£¢99
OugOr 'NSAIaNC 979279068
SWWOHL 'SSWIBH 276229068

V AaudaO39 'NSHOO 006€99
SNISTSGVW 'HOOTEON 8082619068
GNV10¥ ‘ZVYNSAON @2022002b2

lanuvd 'dveny 180699

@IOUVH “IWIN E€h899
WPLYY ‘TIONH 1Z90LZ0002

BOSINNY 'NSYYWM Zo9pZ99

9 GYVHOIY ‘N3G3IS 0SZ99
QIOHLYIS ‘Ya APesp! 9068

@ LYFEON 'SNIHOLNH OZZE99
SNOILNIOSAW 29169S€008
ANNalGvs ‘GIAVG Le6z990294
VPIVW ‘OAVW TH L9pzeocoze
SVIHLLVIN 'HONANW S262219068
NNV ‘CONN €es-eceote

WUAA 'NVHONVIOW S9£899

10132 'SNV1 60~299
VAYONV ‘SWNT 4226879068
XATV 'NASSV1N bp2bez906e8
SHPINVW 'NISLSINH Z2/pSeseooe

ZSNALVW ‘VLSVid SZpz799
viT LavW1449713 Vv ‘ONVIGAW z66e01z028
Wulad ‘27358 €496979068
NILUVW 'XIZOVYSIN 9088Sz9068

CG ASINAG 'NVOVNV14 pZece9
GSYINVW ‘SINIZT LSS6Z19068
SNVud 'NVWSOd €S2609€008

SVeVENVE TILLSZ Zeses9
OOUVW ‘SSGNONYYY 8982196008
MATISOW SNVH 'NASUSONV Oz91LZz018
SNOJTV '3D9ONISIOH vez6879068
ATWS 'GALSHSOH LO698eE018

TAVHOIW "YS 1¥M S$L0089
YOO! "MNI4 8690279068
NNI SSNOH HOVOD SH L8ESBSE008

Ll ddaSNiID VONOLONVT Id LSSDIANRS SWS 266700082

GSAWVHONW ‘VILL 9Ser89
FYOLVAIWS 'OT1AddNLS prZrSo0NsZ
TWadv¥ 'ADIWNHO 6Sere9
ZLIM 'MSLHOAWM Le6E6z79068
NALSUVY 'SSOA 9296279068
@ AANGOY 'NOGONOD 086629
SH WVITIIM ‘GNV1SA519 Se0829
WIHOVOP 'NSHLANU 96eerz9068
VIANNVW ‘ssn es66r29068
TSHOIW ‘ONRNDAY 6e02Ez906e
NV ‘VONSYAW z9Bee9
BINS TWA 'HSIIDNA €ebze9
NWHOP ‘AGSNH 8650012028
NOO3 ‘NASY3LAd Lerssecole
VIATAS 'MSAVG ATIOZ 60PS6L0002
TAINWG 'NIGSY zZe0zesrore
OGINS ‘NIS7 z9z9e1906e
YNVSNS ‘TwaYOd 129269
f AHLONOG 'SWVITIIM 106169
YHLINN3y ‘NASH ZZE6PEEOLe
V MYVIN 'ONOULSWUV 9000261

loan 0c ccc o CoO COC OOD OD OOO OOOO ODO OOO OOOO OOOO OOOOO OOO OOOO OOOO O ODO DODO OOO OOO ODO OOOO BDDC OOSOSO SODA OGD OF
x
lose ccc eo coe oO COO eo DOO CCD ODOC ODO OO OD OOO COC OD OOOO OOO OD OOOO BB ODO OOD BOOB OOD OOO OOD D ODO BDADDD OOO 9OBBOOCOOO
[loco coco coc COC OCC OOD OOOO DD OO DOO O OOO OOOO OOOO OOOO CO OO OCOD ODO OOO OOD ODO OOOOSD OD OBDGOOOOO BROOD OOIDAFB AS90008
Plo occ ec cD CD OOD OCOD ODOC OO OOOO COCO CD OOO OOOO ODOC OOOO OOO OOOO OOOO OOO ODO OOD ODDO OADOOODOOBDBDAOADDOODDOO OO BOO 9OC8
[loos ec 0c cD eC eB eC COD ODOC ODO O OOD OO OOO DOC OOOO OOOO OOOO DOOD DODO O DDO AADGOSIOSPAOADGDAAGOAODAODSSOROWDIOQDFPFQFVGO FOS
zx
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Ploacaocn ec eo CeCe OGD OOO ODD OOOO OCOD OOD OOO OOO OOOO OD OOOO DOO OO OD OOOO OD OOOO OOD OOOO BAD ODDO OBB OO ODDO OOO ABD OOo
laexce0ne coo ee eC ODO O ODO OCOD OCD OOO OOOO ODO BO OOOO OOO OCOD OOO DOO OOOO OOOO ODO OODOBODADOBAODDBDOAOD OOO SOD DDODOOS
laococc0cn ce co cD OOOO OD OO OC ODOC OOO DOC OOOO OCOD OOOO OBO OD OOOO OO OOOO OoOOB OSB OOOOOOBO OBO OBB OOOO OBB OOD OOO ooo
loco cco cb ODOC ODOC OO COO COCO DOOD OOOO OOO OOO OOO OOD OO OBD OOOO OOB OOO OOO DOO DODO OOOO OBB OOOO OBO DOO OOOO Oooo
loco enc oc DCO COCO DOO OOOO ODOC O COCO OCOD OC OOO DOOD OO OOO OOOO OOOO OOOO OOO BGO D OB OO COD ODDO OFA DDO O ODF OOOO

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Case 1

0 0 0 0 Q 0 0 0 0 0 0 0 3a YW 'ONITHAW Se699z9068

0 0 0 0 0 0 0 a 0 0 0 0 ud NIWWPN38 'SLLNdW3319 30 L96£990/92

0 9 0 0 0 0 0 0 0 0 0 0 sn V AYODSND 'YSyVvE 95SB89

0 0 0 0 0 0 0 0 0 0 0 0 sn 3SOr ‘vivo1v 00289

0 0 0 0 0 0 0 0 0 oO 0 0 ga NILYVW-SNVTH 'NIBLS Zp09Lz9068

0 0 0 0 0 0 0 0 0 6 oO 0 sn f AMOIY "YOLVIA po6Es9o

0 0 0 0 0 0 °o 0 0 0 0 0 sn SNIMANDOVr 'NOWDOD 606589

lo 0 Q 0 0 0 0 0 0 0 0 0 sn H SWWOHL ‘Uf HLIGSNAW 878689

0 0 0 0 0 0 0 0 0 0 0 0 sn 9 O18vd ‘vNN1 sésse9

0 0 0 0 0 0 0 0 0 0 0 0 sn ¥ LSYVONVW 'Y31335HM 9b bbe9

lo 0 0 0 0 0 0 0 0 0 0 0 it WNNVAOI® 'IZZI10d Zrr9Po00eZ

0 0 0 0 0 0 0 O o 0 0 0 sn ANVUD 'SvaNd ZL6e89

0 0 0 0 ° 0 0 0 Qo 0 Q 0 sn OuNY ‘vuNsaog8 bsee9

0 0 0 0 0 0 0 0 0 0 0 0 3a SVSYONV ‘HONE bzel6L9068

0 0 0 QO 9 0 0 0 0 0 0 0 30 VNINVO 'CIWMYaNVS z9zseLgo6s

0 0 0 0 0 Q 0 0 0 9 0 0 3a NIWHY ‘LISUL SpSz9z9068

0 0 0 Qo 0 0 0 0 0 0 0 0 iv 3010S! 'HOSIH SZzLstzoo0L

0 0 0 0 Q 0 0 0 0 0 0 0 3a GI3ZH130v ‘GNVYS €b9s619068

0 0 0 0 0 0 0 0 0 0 0 0 ON YVNNNO SN5P 'ONVINNSA SZzsezzoL8

0 0 0 0 0 0 0 0 0 0 0 0 sn QYWHOIY ‘13031y 05849

lo 0 0 0 0 0 0 0 0 0 0 0 ON STNNUY 'dYuOL 08Z611Z028

0 Qo 0 0 0 0 0 0 0 0 0 0 sn da3QNVS 'VAGIVA 218649

seer 0 S8tp 0 0 0 0 0 0 0 0 0 ud FIOOIN 'N3INDDOB OzESg90/92

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0 0 0 0 0 0 0 0 0 0 0 0 iv VNNV ‘VTASIy S6zbLZ0002 |paseL
0 0 0 0 0 0 0 0 0 0 0 0 ya Vid ‘NSSSNWSVu ssoo6ecole feasaL
0 0 0 0 0 0 0 0 0 0 0 0 ya GNN1 SNYvre 'NASN3LSIYHO tozzsecoLe |zeseL
lo 0 0 0 0 0 0 0 0 0 0 0 sn 3 STISINVG 'SLYagON oseze9 Sel
lo 0 0 0 0 0 9 0 0 ° 0 0 IN HIMGNSH 'SINHWPIIS LLPooseoos jossel
0 0 0 0 0 0 Q 0 0 0 0 0 sn 1 LYS8OU ‘W3A 99¢z89 2S8t
0 0 0 0 0 0 0 0 oO 0 o Oo sn 4 AS109 'NNVHe ZpSBZ9 2S8b
lo 0 0 0 0 Qo 0 0 0 0 Q 0 sn 4 ASNLIHM '30V9 b86229 ZS8L
0 0 0 0 0 0 QO 0 0 0 0 0 3a H&WS YSLNIM NIMOUd 995279068 |9ZSer
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0 0 0 0 0 0 0 0 0 0 0 a sn NOUvY 'NVWSN1y 9Lez89 bésel
0 0 0 0 0 0 0 0 0 0 QO 0 sn A3NIVY 'STIIW 252089 2S8b
0 0 0 0 0 0 0 0 0 0 0 0 sn OLUAEON 'ONVD 6zb6z9 LSBL
0 0 0 0 0 0 0 9 0 0 0 0 sn V STIS 'SYASONE Zbl 69

0 0 0 0 0 0 0 0 0 0 0 0 ON 11438 NNND ‘GVLSINy L9LLZtZ0z8

0 0 0 0 0 0 0 0 0 0 0 0 sn TVINOLOIA 'VOSWI0 SeseZ9

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0 0 0 0 0 0 0 0 0 0 0 0 sn CG GVHO '‘MOTuVE S6rES9

lo 0 0 0 0 0 0 Q 0 0 0 0 sn VANO 'SANOLSWd Zh6789

0 0 0 0 0 0 0 0 0 0 0 0 ud AW34 'O3TVL O69P99092

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0 0 0 0 0 0 0 0 0 QO 0 0 ya HL3NN3 "LOTOHNSAZO7 LZ6SPEEOLS

0 0 0 0 0 0 0 0 0 0 0 0 as VNNV 'LSIADGNIT PL Z66Spor8

0 0 0 0 0 0 0 0 0 0 0 0 ao SWIOHOIN 'ZSONO coezpzzeee

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oO 0 0 0 0 0 Q 9 0 0 0 0 30 ZNISHTYVm 'MANVS £192619068

0 0 0 0 0 0 0 0 0 0 0 0 iv VA 'Y3s1S4d 7902070002

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0 0 0 0 0 0 0 0 0 0 0 0 sn SLLSNIT 'NMOUE 116629

0 0 0 0 0 0 0 0 0 0 0 0 as YVWAONI ‘Wr OzesEsbPore

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0 0 0 0 0 0 0 0 0 0 0 0 sn NOUV 'LHOINMOW b16z89

0 0 0 0 0 0 0 0 0 0 0 0 sn V YSHdOLSINHD ‘T138Zv 69e789

0 0 0 0 0 0 0 0 0 0 0 0 ya HLIOUVW "MOONS 6ZOZ8EE01L8

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0 0 0 0 0 0 0 0 0 0 0 0 sn 4 NIWVPN3G 'SHONA SZLZ69

0 0 0 oO 0 0 0 0 0 0 0 0 sn AHLVO 'SYV9 SOSL69

0 0 0 0 0 0 0 0 0 0 0 0 30 TAINVG 'Y3SI3d 82z6Sz79068

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0 0 0 0 0 0 0 0 0 0 0 0 sn f Y¥TIIM ‘LYVH LLL689

0 0 0 0 0 0 0 0 0 0 0 0 sn TAUVO 'SYWOHL 660769

0 0 0 0 0 0 0 0 0 0 0 0 sn FONV1 'AVMAVOUE 6EbL69

0 0 0 0 0 0 0 0 0 0 0 0 ya B3OVL 'NSSNVH 66PSseeole

0 0 0 0 0 0 0 0 0 0 0 0 1N u31ad 'N30 430g Zeeseseoos

0 0 0 Q 0 0 0 0 Qo 0 0 0 ya TSVHOIN SNUV 'NSSEOMve LSgPeceols

0 0 0 0 0 0 0 0 0 0 0 0 30 NNVHO?P 'N3SSV1y 2552979069

0 0 0 0 0 0 0 0 0 0 0 0 30 SIZINGVS 'MSNISLS 90h06z9068

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NVHd31S ‘SAVH ZOE0ezo06e
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ANSTANNV WAVE ‘AGUSLSSO LesrOreols
| OOwr 'NASONINNGH SOLZELZoZ8
SNWI7a ‘IYANOS pSLE990Z9L
Odog ‘LONvUd /S112z9068
NvP ‘SYOsSON szeeeccore
1ASSID ‘VINSLNIY €26069
ud OINSOaNS “SWING LyZeg90L9L
M TSVHOIN ‘“LNWAVG 626689
VUONVXATY 'HSTSSSOA prgsoesa6s
WANNA ‘Sanvl 12z689
VSSANVA ‘MAIS p9EB6Z906E
WIGVA "439314 262579068
OOINNA 'AVW 8S9979068
d WVITIM 'SOTAVL LEese9
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2 TNASSNY ‘SINYVH BhE069
NVILSINHD “Tadd¥ €€69929068
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JV 'MSNZLVW 0262020002
WISINHO ‘NASM p9zZZLE9068
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USSOW YS91OH 6h9Sz9068
VOIVHD ‘STENYLS P9289
VLINV GNM Y3L3IG 'Y39usETSHNS ezo00E9068
G3YANVW 'YSWNVHOOLS ZL€Z1Z0002
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YNLYY ‘NOSIV4 099289
WASH 'ABNSA ZZE169
ViIdq ‘SNS3rgq 696169
JAgIS ‘NINSAY LLgpege008
W AMNWH ‘ARGNAZ 1 2z669
MONHD ‘110d 6889
NvTIv ‘Nasunv1 Sis6gecole
NSLYOW 'NASN&P LppS6ccors
Hvuogad “1738 ezsea9
HVdvS ‘OOVILNVS 692689
SNILS SVWOHL WOH Pe0/see018
SVON1 'INSUVHAd 6h0Z69
3N3U ‘HNIHSSTIH 29/S09E008
AHLVY 'ASAUSH 865889
MANISY 'LONVYL 7661Zz9068
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A NVSNS ‘H9ODGOOM gPSee9
NOIMVW '3NVHONH YIISWIHN 0SOZ0E9068
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OOSSONVYS ‘INVES 9S8hLz0082
NALSUOL ‘SVTIVA 0820€b9068
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VLIMWWN ‘SHAENLLVY S2P67P9068
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aInave ‘NVH¥9D-SYTONOG ogzpoo0szZ
YSL3d ‘YSNLYVOWNVS €2010z0082
ANOL 'SANUVE 18be+ 0288
WY¥ITIIM ‘HE TOGNVS ZS22Z04
VONV101 ‘ILvuaal Zar} Zo08Z
SNA NOL ‘YAH »908Z0L
ON! ‘GALIWIINN ALINadSONd 6912201
UAL3d 'N3S1O ONVE SIZLerzole
SHdOLSINHD ‘NNWWIISH ZS2z0S0092
INNVAOID ‘WIT E9SPOOOSZZ
VAHLNNYOS ‘ONI L9sPaoNsZZ
V LYS8OU ‘IONIAN 9S8eZ61
NOLId "IA Szzg0000z2
VAUONY 'INMIOONOID Sz6pLz0082
YNNVO? 'ZOIMAISWNWd SZ08Z01
VINVO BF FTAM 'STIAM LZ22201
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ANVLLING “MOINSSHD 8SLZZOL
CYOINVS 'SNINdOH ESLZZOt
ODIYL SODNINOG OINOLNY ‘SNALWW €00zS00012
JAINVG ‘SVWNG O9E9E90Z92
9349 ‘S433NO orssooos7e
VIAIS ‘Y31ISZ S€8199068
SMU ‘NVUNY Pe6LEbg06a
ONNUA ‘VTTSNNWd 895120082
ABOWLS 'SIGIVIOOIN 2282701
NVHdaLS 'SWONW ZOL0EP9068
VOIWAVIN ‘ONLSVD pSOzOONOLL
BINV4SLS "ISHOS3Wd LS6vE9068
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Case 1

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ee909p99090c0CoDO OOOO ADoG OD OGC OOOO OOOO OOOO OCC OOO OOOO COC OO CoG

eoogggc9 fF 9S 9C9SC SOAS AIDOSDSGGACO BeOS ODO DO Oe aD OO OOO CCC COO OCD OOOO O DODD OC OG OO OCOD OC OC OCOCC OOO CC OCC COC C CCGG

Sesc00n0ncDDCOGBOOCOCOOC BOO OOOO GGCO

goooec000ccc0c0C000g
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SPese9sS9S9GD9DOFCODAOABOO ODDO OODOOO OC OO OCC OOO OO COCO OO COO GOOCSG

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SP9S0DF2TS9FODDO ODO DSBD DOGO GOOOC OOOO ODO OOOO OCG OOO COC OCOC OGG

eoggege99 ssc 9 9 FFD AOSD ABB ABOO DODO BD oO OODOBO BOO CCGCoGO OOO OOOO D DOG OC OCC OOOO CCC OOOO COCO OBO COO C GOOG OC aGCCCS

egogagg99999°9FDSSGAe9C FCO SBABOGeCASB BOO OOo DOOe oO Oo OGOOCOOD DCO OO OBC OO OCC COCO OC OOOO OOOO OCC OC OGC CCC CoC OOOO CCC CS

goaogogggg99ge SCC FOF SC Be ACO BBO ee ASO oSG OO OOo o OOO B GOOG OOO BOO OOO ODO OOC OCC OC OOOO C OC OOOO OOO OOO C OCC COC OOC CoCo o0G

eagoegg9999999FSFeCSSC BDO OBO SC AGO SOOO oOB OOD OOO BG OO COO GD OOO OO BC OOOO O OO DOC O OC OOC OOO OOOO COC OC OC ODOC COO OOO GCG0G

eegeggec 9g 99e 990990900050 F9G9N9CCCFAGCRCCOSOOBDOSBOGaGOCAC OG oC OCG OOOO OO OD OCC OOO C OCOD OO OOOO OC OCC COCO OOGG00

SVIHLIWW "H3ZINHOS 022979068
39Nug 'NOGNOS 1908z0L
ASTYSARG ‘SdITIHd 601 pO00SzZ
31Ay ‘SALVO SOpoEOL
SN3W319 ‘Y3ONINEO 96bb/b9068
VNILSIMHO ‘LLOMS LELZEPEOLS
VONVWY 'ALLVa EOEPOONSzZ
S3AA 'SAGHO 122650092
NOSVf "SNOQTVIOS Z6Z/Z0L
ASINAG '3NOOS 9z99Z0L
VITSNUOO 'LYAMYOvP pes6zp9068
ANH HNIW 'NSANON Zbz0Z000z2
YANO 'NNVWA3H soo99p9068
WwOSvd 'XNON}T LIZLLSO09Z
VXINOW 'HOWMHOS bs08zPso68
NILSNP 'SNOGTVIOS 608ZZOL
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SIMVWANNY ‘YSWH3G O1S8Sb9068
VONI7 'SUYO 6LESoOL
VUGNVSVO 'SEWOD 6105001
VuaTM 'NSUNWM SLosooL
YSHdOLSINHO 'ZNAYNOT FEZPOOr
HLSNN3Y 'HSNEYOS Z0bbPOOL
Aa1S31 'NOSYW E89z00L
9ZE0-L y-bh-EL-62-B0-600Z XXXX BEL900L
VNG3 'SINYVH SEZ9001
Q GIVNOG ‘VIENN LLESz6L
NVI 'ZLUVMHOS S6zS00L
vinvd 'NOLNV18 S66r001
S ABNLUNOCD 'WVUO 6P99Z61
OVS! 'NOLO 1929001
VuNVT ‘SYNGAS 8BLg00L
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GUYVHOIY ‘ONNALSOD SLepoooszz
HVINWZv 'NOBSING PLLOEOL
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BOP 'ONVA 9690€01
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TAVHOIN 'NOSHALLWd b86LZOL
HLNVNWSHY 'WVEWOOS 6EaPzZEL
OLUY38TV 'vVuusOR g68S001
SNNVAG ‘ALNVOUSW Z89Zz01
N313H 'ONVNVd ELPOEOL
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VOISOL 'ONOIV beoesoo0ze
VNIVSVWOTIS ‘OdOwV! 9120200072
0010d031 ‘VITIDUW SBEPooOsZZ
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SNINNVP 'WWIL 8e06zP9068
NVANG 'SSNY 8Z60E01
dASGNVWY ‘TORWYy EZ90E01
BINVHd3LS 'NIVIDOW OSL9z6t
TALSINHO 'NVWTV ZeeBe90L92
VIOINLVd '‘ABYHAWNH 6892201
WLIG3N39 'OLNId 2261500012
NILSNG ‘SWvus 9618201
STANNVWS ‘OTOAVHID Se68Lz00B2
VSSITAW 'WVHNOG ZSe0€01
HL3d ‘ZLVy 6PEOEOL
SVTIVG ‘SN3ASLS 9€26z01
USONVXS Tv 'Y30734 Poosergo6s
NOUMSWV9 'SSNOP eez9zOL
NVNNVHS 'AGSNG 6S6ZZ01
NA3LSIYM “LNSONN bS6ZZOL
TRINVG 'YSNOWM 86r9Z01
SINOT-NVar ‘OSSVS 765960092
ANUOL 'NOA GNVYSSGASH segesbgo6e
NOSVP 'SMAYGNY P6Z9E01
ABAMVH 'NNWua Z2Z6zoL
VLLSNHOF ‘ASTLNNH ZszLeoL
ONNUS ‘VUISYad 1 Tav4ve €/9000001L2
AHLV9 ‘ONINSSUO 6ELPO00SZL
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Case 1

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ANHO?P ‘OSI1 E66E000SZZ
BADNNAS 'NASSNVH SOPESEzOLE
ONNA NNA ‘OHS ZE9000L
NNAL 'STADOA OEESz9E008
SON] ‘VIIZ0NVS c06LZz0082
WLSINHO 'SYSON37 LLLo6p906e
ANVIG 'NOLYSHLY 96FE€01
YNHLYV ‘SNILSSHO SZ8ZE0L
Olu ‘WISH 298ZE01
AaNGNY ‘OI P9BZEOL
NOGN3UB "XO 198ZE0L
WVHSINVWVTISS 'NYNVAVPVHLNVNY LObeprso6s
WH 'NATIV 96ZLE0L
IW3eY SVWOHL 'SaVOaNeWS C0EZZSOObL
ZINHOS DYOAS 1S9989068
VW ‘INOVHYS 69ZZE90Z92
WOlLWd 'HOIS POEs) y9068
1UY3EON ‘NSOUNSENSGNVYS 9rBZE0L
3YV19 ‘HONAYS Lpszeot
VNINGYS 8 NVC ‘LNSONN €122€01
SILLVW 'LNAAVONLS €9Z9E01
HdOLSIMHO ‘AWMIHOSL €Z0S-S00b2
QGTHIOS “MOASMHAG OLLEPEZOLE
VANONV ‘NVWHOTIL ZLeZe0L

NW 11 Ald NOILYHOdHOO NOSLYAEON Y 8 v 946P000S7/

NVIUG 'SWYITIIM @Z1ze0L
SOIMGW4 'NSINNSS 6/S0190/92
VNVPLVL ‘YSLMIHOS OessoonsZZ
VN3UYSA 'Y393 - HOVENSNIST pSL9eP906e8
VIONAIOWd IWLIA TAINVG 9eez9p9068
YNNVN “IHVONSAG1 OoaZereore
Vid ‘ONNA 6EEShro0Es
SNILUIENH ‘ZLINHOS vOIEPg06R
3LV3d ‘YSHOSI4 pz96prs06e
AOU "3NOSH LS90E906e
AMUAIHL 'USONISNIH bSLZE90L92
VHINOW ‘SHY 0912279068

VITID39 ‘JNOWd 8982201
OONVHO ‘WONIAVIN L6L9E90294
VAVLSNW ‘W4VLSNW €26pSP9068

HLSNN3M ‘SWYITIIM €0b6Z0L

YNVIG ‘HOSSAIN ZPE6zOL

AWW 'SNWA Z002Z0t
AV SWALSAS VNWWANI Leaoz9pore
SVWWOHL 'NVZ9ZSA1 9688€>9068

NVAZ 'SNWANOUZD ZL06Z01

THVuVS ‘CISY eel pzel
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SMISH ‘VOUIA 6986Sp9068
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N3HOOC?P 'SIMLYVH 229SS¢9068
AMUYSY 'OUSENSSON 9e9Po00SZL

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Su ‘YATINNdYOD pOL9Sh9068
ANSNA ‘IIMIGA Sz79PECS06e

Tauuva 'AN 6e8ZZ01
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HLBNAT ‘ASTLIHM 6222001
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Case 1

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3a 3Mn ‘Hd1OGNY sszPsz9068
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30 VNVIG ‘NASNWHNAN 9z966e9068
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30 YNLNZOVaSYSM YSNNWW bLoosps06s
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30 OONI 'NSHLN3NS 9/1 p29068
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HO STSHOIW 'NSOUNENAGNVYE-IGIVH LeeBrooors
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sn WIAWVd 'HLVAYOH SePLoot
sn HLS8VZIN3 'ZAYWNS bZbLOOL
sn HvuOgad 'Y3Svy Zzso00L
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30 VUGNVS 'NNYWTSIS Sbr9spso6e
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BONV19 NV3P ‘VEWOCN VIVIYH PZbe€9068
suo ‘Ava Opscool
JSVHOIN 'ALNS LZ20LLL00r2
SGIAVG ‘OLINO!S €0ZZ9-00b2
JAOUVW 'YAdNVD LbZZ9LOObL
AWWYS ‘OVLUS1SO ¥910269068
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VUONVS ‘SSNOP-HOTAVL bEzSOOL
VHSIAULYY "VAOGYOD Begr00t
HVINAuar 'Y3ONN 6EvECOL
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VANOS 'dlva@ 608S001
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3N39 ‘NOFHO1Nd 2629001
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1LLO9S 'HOONA 229S001
SIMVW-NNV 'GUWM 1295001
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ONNWaa ‘OMraMVva 9PbPOO!
NOL "331 Eby POOL
31Nr ‘YANZLa4 6ezE00!
SINN3G ‘“T13MOGOW Z08z001
SATYVHO 'AMLNV beSOOOL
Valsad 'AISNVHY3EO 4120001
UVGIA ‘NSWIOH L90esezole
LUN 'YA4OH 9p1s900082
Hd3sor “IHVM 6082001
NHOP ‘XWS 8122261
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0 0 0 0 0 0 0 0 0 ° 0 0 sn 39DYO39 'NIVNDOW 18z9001

0 0 0 0 0 0 0 0 0 0 0 0 sn AONVN ONY M3NG 'ZNVIOM Z6hr001

0 0 0 0 0 0 0 0 0 Qo 0 0 sn AON 'VHGNOWV1 E66so0L

0 0 0 0 9 0 0 0 0 0 0 0 sn AOlvd 'NOSNIGON eosroot

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0 0 0 0 0 Q 0 0 0 0 0 0 sn ALLSAA 'ANOTIVWN EZBP00L

0 0 0 0 9 0 0 0 0 0 0 oO sn ANMAONVAA ‘ONVISUWW OSOE00L

0 0 0 0 0 0 0 0 0 0 0 Qo sn anddvd ‘Gvue 986z00r

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0 0 0 0 0 0 0 0 0 0 0 0 vo NAP ‘VONYNO39 zg9ssooL

0 0 0 0 0 0 0 0 0 0 0 0 sn ATI 'DNOIX 689001

0 0 0 0 0 0 0 0 0 0 0 0 sn OIYVISONV9 “WAVN ZSS9001

0 0 0 0 0 0 0 0 0 0 0 0 HO SUN ‘IGAN1 E8LE9L00r2

0 0 0 0 0 0 QO 0 0 0 0 0 ud ANIGNVWY 'LUSa Ty 10890292

0 0 0 0 0 0 0 0 0 0 0 0 sn SIOOIN 'NOSNSMS Z2z9001

0 0 0 0 LLELZ bLeL 002 0 0 0 0 0 sn NOTYVW 2 TANNVWW3 'OrOd LL ZzzoL

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oO 0 0 0 0 0 0 0 0 0 0 0 sn OIYWW 'OSNOW LzezzoL ozoeL
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0 0 0 0 0 0 0 0 0 0 0 0 ga NVLVN 'ASPHOOINS O6/bzrg068 [ELOBL
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0 0 0 0 0 0 0 0 0 0 0 0 nw MA3UGNY ‘OIHDO3A LZzeoo0szz [6008L
0 0 0 0 0 0 0 0 0 0 0 0 30 2MN ‘SAVW osz6spg06e [008
0 0 0 0 0 0 0 0 0 0 0 0 nv AGNVW ‘GHIA Zesco00szz [20081
0 0 0 0 0 0 0 0 0 0 0 0 sn ONNAW 'NOSA Ze9Sz0L g008L
0 0 0 0 0 Q 0 0 0 0 0 0 nv N3Hd3LS 'SIAVG ezzeoooszz [so08L
0 0 0 0 0 0 0 0 0 0 0 0 sn AHLVY 'MANNNE 80SZOL yOORL
0 0 0 0 0 0 0 0 0 0 0 0 sn SBWvr 'NNNG 82Zbz0L e008 tL
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86 Ly 86 Lb 0 0 0 0 0 0 0 0 0 0 il OINOLNV ‘OTSONVLVL 1691 1z0082 [oo08T
0 0 0 0 0 0 0 0 0 0 0 0 IN NWd ‘MAdW3 Lesopzecos [66621
0 0 0 0 0 Qo 0 0 0 0 0 0 sa Nvnr ‘vSO¥ V1 30 TIVAVS esssoLooe. [BEEZ
0 0 0 0 0 0 0 0 0 0 0 0 IN WIM 'H3THOIML zeg60se008 [Z66Zt
0 0 0 0 0 0 0 0 0 0 0 0 xa GSP N3S3ddSP 6SEL9EEOLB [966ZL
0 0 0 0 0 0 0 0 Qo 0 0 0 3a GIAVG 'ZLINOW 820rzrs068 [6621
0 0 0 0 0 0 0 0 0 0 0 0 30 AN3IGVS 'HOVENSLLSY bStSze906e [bE6ZL
0 0 0 0 0 0 0 0 Qo 0 0 0 sn BIGGOU ‘NSMONOO 9e86eZ0L E6621
0 0 0 0 0 0 0 0 0 0 0 0 sn YVvOG3 'S3YO1s S86EzOL Z66LL
0 0 0 0 0 0 0 0 0 0 0 0 3a WIvr73 'NNVW33S eLsogp9cee [L66Zt
0 0 0 0 0 0 0 0 0 0 a 0 sn VW13M 'SDYORS peZ2z0t OSE
0 Qo Q 0 0 0 0 0 0 0 0 0 ya VSOUld 'IATSHYVAGN EZ9Z8CE018 [6862
0 0 0 0 0 0 0 0 0 0 0 0 nv VSIT ‘NVASHS 6r6E000Sz/ [aB6Zt
0 0 0 0 0 0 0 0 0 0 0 0 3a VLLAP 'T3HOO pzszgp9068 [28621
0 0 0 0 0 0 0 0 0 0 0 0 4 ODSIONVHS ‘ONO Zlzb7zo08s [98621
0 0 0 0 0 0 0 0 0 0 0 0 ad VNVINWW VOIA 'NOSSOOSN E6LEEgOZ9EZ [SB6Z1
0 oO 0 0 0 0 0 0 0 0 0 0 sn 331 'ONVA bLOezoL PSELL
0 0 0 0 0 0 0 0 0 0 a 0 3a VNIOSY 'N3LS¥M Ezzpsego6e [EB6ZL
0 0 0 0 0 Q 0 0 0 0 0 0 yd MOINNY "NSWONG Lesolsoogz [zg6Zt
0 0 0 0 0 0 0 0 0 0 0 0 sn TIVGNVY ‘LSV3 98Z9Z0L LB6ZL
0 0 0 0 0 0 0 0 0 0 0 0 nw NAYHL¥y ‘GaN precoooszz [oBEZt
0 0 Q 0 0 0 0 0 0 0 0 0 sn QUOJOVUNB ‘ONVIODS gPEEzOL IGZELL
0 0 0 0 0 0 0 0 0 0 0 0 sn GIAVG 'IMSNAZSNq oseezoL iBZ624
0 0 0 0 0 0 0 9 0 0 0 0 sn NIASY 'NOLWSH OveezoL L262
L9€L Z9EL 0 0 Qo 0 0 0 0 0 0 0 sn 3INYVHO GNV SWAVW ‘SYOOW 1S0EZOL 9624
0 0 0 0 0 0 0 0 0 0 0 0 sn OIVYD 'SYALSd ZpOezOL SABLE
0 0 0 0 0 0 O 0 0 0 0 0 nv NVOWM 'SuvyNy LooZgo00z2 [hZ6ZL
0 0 0 0 0 0 Q 0 0 0 0 0 nv BYOdST OIA EBEOOOSTZ |EZELL
0 oO 0 0 0 0 0 0 0 0 0 0 3g TaVAVe 'ZSNDINGOY 9oerlesose [22621
0 0 0 0 0 0 0 0 0 0 0 0 HO WIYNG ‘ININSY OSES1S00p2 [LZ6Z1
0 0 0 0 0 0 0 9 0 0 0 0 1d VUYOIZONVY ZSVWOL SBOEELOZLS [OZ6ZL
0 0 0 0 0 0 0 0 0 0 0 0 nv NWL'NNS BSzeo00szZ [69621
0 0 0 0 0 0 0 0 0 0 0 0 sn VUNVT 'MATIIW 8606101 e96Lb
0 0 0 0 0 0 0 0 0 0 0 0 30 VAUGNY SIuI ‘SINHON brarscgo6s [Z96ZE
0 0 0 0 0 0 0 0 0 0 0 0 ud Addi Hd '4390u 681 6009/ [99621
0 0 0 0 0 0 0 0 0 0 0 0 sn GYNIA1 'SSOUND E9ZZLOL SOBLL
0 0 0 0 0 0 0 0 0 Qo 0 0 sn Had ANVW ‘SISNSYSS 6SZ0ZOL POBLL
006 0 006 0 0 0 0 0 0 0 0 0 sn UY SATYVHO ‘3109 6616161 [E96L1
0 0 Q 0 0 0 0 0 0 0 0 0 sn SNVIG 'NOSdWOHL Z906L0L e962 4
0 o 0 oO O 0 O 0 0 0 0 0 sn IWWVL 'SLIHM bZb8 LoL LOBLE
0 0 0 0 0 0 0 0 0 0 0 0 sn 3SI14 'NVUL Z9p8LOL OS62b
0 0 0 0 0 0 0 9 0 0 0 0 av SONSYAL 'NSHO tzSZo00szz [6S6Zb
0 0 0 0 0 Q 0 9 0 0 0 0 nw 8O¥ 'YSTINWHLAIY POLEOOOSZZ [BS6Z1
0 0 0 0 0 0 0 0 0 0 0 0 3a OwGad "ABO .C Z6ezp906e [ZS6Z1
0 0 Oo 0 0 0 0 9 0 oO 0 0 vo WNVP 'HLINS SZ66L0L 9S6ZL
oO 0 Q 0 0 Q 0 0 0 0 0 Q 3a OLYSEOH 'IMSTIBIHDS 9/9rLp9068 [SS6Z1

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ceoecoece oOo O oo OOOO OOO FOOD OCOD ODO OOOO OOBD OOOO OOOO OOOO ODO OOOO oO DOB BOON AO AOD Ooo eBGAa Oooo
toOCOCCOC ODDO OC OKC OOO COC OOOO OOOO O COO OOOO OOO D OOOO OOOO OOD OO OD AoAODO OB OBO OOOO OND SB AAG OOo

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SSSSOSOSOOS SOOO S OOO OOOO OOOO OOOO OD OOOO OOD OOOO DO ODO ND SOOO SBS GSS SGGagG ooo OSCoSCSoNO SaaS SaSN BO HBeeso go 999900

Case 1

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ee0e0ocDoODODOoOCOOOD

Foo aoc ccc coco oOo DODO OOOO OOOO OOO Oooo OOO OBO OOO OOO OOO COO DOO OOD OD ODDO OOD AOD ODDBAADOODDADO DOOD SFD F992 0°
Fo oc ccc coo oO oC oC OO ODOC OOO OOD ODO OOOO OD OCOD OOOO OBO BODO ODD OCOD DDS ADOSODADDDDOBIAADOO DOSS DAG SGOS FFF 9 90°
Ho ecoccoc eco eo oo eco ODO OOOO DO OOB OOOO OOOO BD OOOO OOD OO OOO SOOO OOO BAB OOOO SDS OOSDO OAD OOD OS BB OOD OSS SONGS 999900
bso eccnc0c coc OO OC Oo ODOC OOOO ODDO OOOO OOD OOOO OOOO DOO OOOO OOO ODO DOD OOOO OOD ADDGDSDABAODGDAOODBOPBAADAPOIDIGFFDFO FOO

Foaocccne ce co eo oOo OOOO OOOO OOOO OOOO oCOOOOoOOOOCOoOoOOGOOCBCOODO OOO OOOO OOOO OO BOOB OOOO ON BBDOfo°

Hoc oc cope oc coco O COC ODO DOOD OOOO OOOO O OOO OOOO OOOO OOO DOD OOS OODOADD OOO OSD ADDDO BODO OOO SDSS ABOOBIOBDS 9999990
Ho oco ccc ccc c oc ceo OOO OOOO ODDO DOO OOO Ooo OODOO OOOO OO ODO BO OOO OBO D DOO OOS AOD AOSDADADOO DD ADOO SDS ODASOAD OSS OFS
Heaccc oo oc ooo oOo OOOO Ooo OOOO OO OOD OOOO OO DO OO OOD OOO ODO OOD OOOO DOD OO OO BADD DOODBODDOBDOOOBSBSO COS D 99999000
Foc occc asco oo eo CO OOOO OOOO OOOO OFC OOD OOOO OOOO OOOO OOOO OOOO OBO OOOO NSSOOOSDOOADO OOS OS ASO OO SSS OGOOGSB OOO

ud VINSVH SNNOMWH Z69PE90292
sn WVITIIM ‘NOSOP 6EPLZOL
sn NILSNP 'SANONA CehtZOL
sn LUN 'NFONISAVE SLSOZOL
3a YI 'SY3SEN3ITHO »1806z9068
sn IANWL 'WOSI LEO6LOL
3d WNVPLVL 'YS9OISTHOS LZL9Pe906e
nv NSHd3LS ‘NOTAVL $LSZ000SZ2
av VWNNOG 'NOTAVL 01Sz000S22
3a LAW13H 'SU3OSINHOS Zs9SLe906e
3d VNILNVS ‘LLINHOS SI Zee79068
a9 “AWANIAVIO 'ANSNA 9zLSLLozes
sn HVIWSUsP 'XOO OZL6LOL
sn SNSTYV ‘SMOD-YFONILLOd 82bSZ0b
nv SINN3G ‘ONOS-3NS prEzaoNSZZ
3a -NIZ VHANWS p9ebL 9068
HO LUSEHON 'NSOOINGYNZ vrOsGEOorZ
sn JAUSy 'NVONOW bPy6LOL
vo VSSITAW 'ONVTAH Oza Lol
sn OONVWUY ‘WN3GOO 6t9Z 101
sn HWUVS 'WVHYOW1g Of0ZLOL
nv GS3LINM Ald HLTW3M d 9 LoLeooosZs
sn 3N3UI 'INSMA31GO9 621 LZOL
sn SIVaD ‘HOVEYNSOIOH 8880201
sn N3YYWM "337 ZZ€6L01
sn NAMHLY 'NOLSOS 9ZP6101
ud TAINVG 'XNVAdVUL 6LZEC90292
sn SMM 'NOGNIM ZLEZLOL
sn 3OYNOSS ‘NOLAVIO 6O0ZLOL
sn WNNVP 'NSGGOA 1ZLtZoL
3a WLSINHO 'AINWd LPSzZze9068
nv STIINV 'SNOWIS +26Z000SZ2
vo SANSUI ‘CUVYNsr 6866101
$3 3NIN'3ONVHS LLezeoooes
30 HOWddO TAL WAL 7ze9479068
sn BOMv ‘SONadS peZeLoL
nv TAINVG 'Y3OWM 2€SzZ000SZ2
sn 1Y3EON “LYWHNAT L9PLZOL
nv G11 Ald OD 8 NOLMAN NHOF geezo00szz
gd VYCNVXSTV 'NILYWW 8e0S/79068
us SNNVSP? SIV “TAWYVHO @Lepzeo0se
vo ASTLNAG 'NAZLWd OZLPZOL
nv STISHOIW 'SAYWMG bZ0L0000z2
HO USLIWM ‘Y3NHOU €8260100P2
ud SWIXWW ‘ONOGAT SrZyHOO9L
1d VINOLINSNOO-SLNSWLSAANI SNDISSVTO 1SSBEOOOLL
ul olanv1d ‘oNOTI.G seseozo0eZ
ya 3N3Y 'NASNONIS b2S16E€018
qN NATSAa ‘WANVM OL8b1 96008
3d AW ‘VUNOHOd Zye6zy9068
ga VHLUVW 'WNYSIOM-NATINN B00L2>9068
sn TWLSAUHD ‘AUATIL OOSZOL
3d N39OuNr 'HOVLS 258669068
ad NugOr ‘LGINHOS 16Lz8e9068
3a NOIMWW 'YS194IZ pselzps068
3a ONVOIIOM ‘CIOONWW 9£S€129068
30 Sri 73s ‘MSTINN ezeeregoes
nv Nv WOO 'HOLSSANISWOH zezeoo0sz2
3d VLSINHO 'SSDYOO 196Z6z9068
sn AINVS “TISHOLIW zasszoL
sn UAGWIH ‘HOINONID 98ZSZ0L
sn OCTWMSO ‘vZIVOT ¥8zSzOL
sn AONVN 'MSNYNL L89PZOL
3a ZNIZH-THVH ‘WHdONOM €S€02>9068
ya VIN 'NASONSAS Z9LEeveolLe
3a VIATAS ‘U3LTWM $286279068
us SUV 'LFINOHD Z9bP6 10092
sn Wav ‘L107 20z9z01
3a UVINOVG ‘S¥asIS4d 002S9r9068
nv diTiHd ‘ONIX e6egoo0s7L
sn MJONSYMV1 ' NNVWNWE Preesol
4 VNID3Y “VAZLIHOSHAW 06S28Z0002
3a WUONVS 'N3SSW19 ZszezP906e
3a VNNV 'HANLNAZ 7956979068
us STISLSINHO 'NOHS!g0@ 9s6ze90292
sn VOD ‘NOSNHOP 19bbZ0L
vo VSAYAL 'NOSUWS PLEgLet
a YINOV 'NASHOINS 0/90ErE018
3g SVAYONY 'MONWHOS +904Sz9068
sn SLLaMnr ‘Aquos €zoszoL
vo VWHON “TISHOLIN 8992201
sn f 'NHONWA 9/SSZ01
HO TAWWOY ‘eVTIVW 201 Z0S00b2
sn NVIY@ 'NSLYVOWNE 6EeszoL
sn Nor 'ZONNW Seeszol
3a SINIGWN ‘SSH34 Z91.2Sp9068
3a SN&P 'NNWW44OH 8€b/ZS9068
id TSNNVW ‘VHOON OLgoso001L
sn GQ YSEWY ‘AVGITIOH 95SZe2
aa aMIN1N 'G7134337y 9S2ec906e
iv STOANNS ‘YATIOW e99eLzo00L
ya WYOMLAN SYNLNS SSLZepeors
30 VIOM1 ‘Advaad prezpr906s
30 SMNVHd3LS ‘HOOLSNACOU peesszg06e8
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Case 1

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cosegecgoge aor 9999098999009999599000009990909000000000000 0000000000000 0000 cD000C Coc cococooCo coos

gooeesegeascBaeA9S9 eB BGO CO DO SGC OSGOOAGD OG OC OCC C CC OCC OCGCG OCC OG CCOOGS
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eses99090c9CoD DDO ABGOOOO OO OAD CGO OC OO OOOO OG OG

gooeeegceesasgsa SGA SeB ODO DO CCOOABDOeDC OGD GOGO COCO COAG OC CoC CG OGOCSG

esse9990c0ccCoSFD DOB SFD OOOO OC OOOO COCO OCG OCC CoCo OD

eoooggaggesasoo° 9999899909009 0999990900000900000000000000000000000000000000000000000000 Cocco CUO CS

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SHPEEPEPPCPSLLGLCLSSSS®ALOD9999999900009000000090000000000000000000000000caccc ccc ccc CoCo CoCo CCC

sn GIAVG MOOSGVH 98Zsz01

i OLUYSEWN 'NOML Z660S00082
i VNILSINO 'OTNIOS eszoso008Z
ud GUVNU3E ‘313d 98801S0092
u STAINVG ‘OITINL Z6hztZ0082
ud AMMAIHL 'NOHINOSUNOD b6189E009/
sn O11 SANOP-THVG ezPaL6L

sn NVMH ONOGS ‘NOS gE0bzOL
3a -NVY4 NNVW3XNOM b6ZezP9068
HO NILUVW 'N3CISNHOS O06E1S00rL
nv SUSL3d VUVEUVE ® ANVD B6Ee000SZ/
ya NOIYVW ‘oovr ofveoreole
ud BINS TVA ‘NVSPONWuS 68820094
1 OOSSONVYS ‘SYYOLVT Bsse0z0082
nv STNYVO GH 3 SW Leleoooszz
qN VYHOZ “IVNOITM 39yNaeZS3M S/sorZe008
nv Gy 9ezeo00szz
id VNIONO VIYVW ‘VHNND O14 O8E0S000LZ
ya SS3Y3SHL LAIMYVH “JOro 343739 oge6ereore
sn TWLSAUD ‘AONSWOd O1ZEZOL

sn IOWLS ‘MvO ZOZEzOL
nv dNOUS LNANZOVNYW GSS ZrPEooNsSZZ
30 43 ONIGVYL SGIMATYOM Ido Zeseer9068
nv Tle 'NAWWYH O6ee000szz
3G Y3THAOM OWISH ONNLAYLYSASTSGNVH S628z>9068
nv GIAVG ‘HLIWS 688E000SZ/
ul NVS3LS 'NSHOTWM B2zt0Z0082
ya N39u@r 'u3E O8BOsPeoLe
sn VONIT 'VXSIN LZSSz0L
sn GIAVG ‘GuO4Mvud B9sszoL
sn 3NITYVA 'Z3dO1 LZzszZ01
vo G11 SLNSWLS3ANI NVW1393d 6s6bzoL

IN ANNOAA 'dOH NSWXO9 bLsobze008
a 131 N38S3 'NSSN3Y@S Bz9g6EC0L8
3a VI3NNVW ‘dW 3d NVA gezs6e906e
3a XIYLVAd 'MONASON 0266679068
sn 3 SNS 'NINDIOH soggiEL
HO SNNVSNS 'YSAVE EEBLEL00bL
av VINVW 'NOWIS bezeoo0szZ
3a SWWOHL '44SS3 Obeversose
nv V1l3 'SWWITIIM O1LzZE000SzZ
qN GION 'YNAYHOS SYFOHOIM LZpsEseoog
aa LLANNY 'Z131Z Obst P9068
sn 1Y380u 'NYWuvr s9zezoL
sn GNOWAVY ‘ANALNIOW B9PEzOL
30 VINVW SNIGYS 'MSNGNI 6ezeoe9068
3a VNILUVW 'NSEOHOS beEssro06a
HO VOINS 'INAWWHS ZLLLOZoObZ
HO SVYCOIW ‘SIAOMSWN b9ZEzSOObL
ud WOSOdWHO THWS 66ZE1Z0092
ya IGIZH 'NSSNA9NOr PEzZOLPEOLB
sn 1Ya8OU "Seay 9661201

it VAYGNY ‘OIHDOWNN3d 2122500082
ud W OINOLNY ‘S3YVOS 6P9zZE90L9/
sn GVHO 'NOSdWOHL 8h0ZE0!
HO AWVY 'MSNIZLS LSL6LSOOPL
vo ANVIG '39Wd37 eeztzeL

Ll VONT 'ILLBYOW bLpbzZo0RZ
3a SVWOHL 'NSNUOH +EZZEr9068
aa NILYWW YALNAHISM Sbosspso6e
30 SS3H SNV1 Zegserso6a
3d YS1OA ‘TaZ13M goegergo6s
nv AYOD3YO NHOF 'SSVM PororonozZ
3a VNONWIS 'LOINHOS LLSPSP9068
as HV31 'ZLIYs pOR6zZbOPe
vo S3030NSW 'OolNuY 990zE01
nv 4N314 ‘ASNNN Braroo0szZ
ul OIGSUL 'ININH3NS ossstzoogZ
30 NVILSINHO 'NHAINWd beozzPso6e
HO VIOVN ‘IITT1aVeIW Leo6tSoOPZ
nv SNAWM "NSONIO 9E8hO00SZ/
1N AG GVYLNYM bb} LbZe008
as VA3 “SNNUOD SBE6ZZPObe
nv NIHL 'W3 Z2zso00szZ
nv ASNYL ATINVA YVAN beLsoooseZ
NW SALVIDOSSV OPASH 'SALVIOOSSV OPASH 081S000S72
nv BYV19 'NATIV 1S912000Z4
3a ABSOP '3ZLNd 6z22Sb9068
ud BSONAYNV1 'SaUNvr OOL90S0092
ud 311930 ‘INSISNWd 62LbLSOO9Z
sn ONNL "37 BL69LOL

4 ONISVY3S ‘ILLSYOW bb6rLZo08Z
3a SYOSSONI FTSINGVS ‘WISH1IM Sss9erso6s
3a VSOUVINYW ‘OLISOdS3 98098r9068
sn VSSITAW 'Z3NDUVW Zeoreol
3a SNH 'LY3SUSH bLOgL pSo6e
N NOL ‘N3LX3 N3Q 6e06eZe008

OULAld 'OTIAINLWdO7 beeztzo08Z
ua IN SATVSNOO SAGNYNUAS O1NWd OyOr Z6Lss000LZ
ANNINOS "VeISYYAd POzs0SO09L

SINN3d 'N31S1ayySL LOz6EPEoLe
30 VIGA1 'HOIWS 499479068
iv OIYVW “TH3EOw e9z88z0002
sn S3WVP 'HLINS 8LorEeoL

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Case 1

0 0 0 Q 0 0 0 0 Q 0 0 0 av S3uo ‘GYVMUYOS S+92900072
0 0 QO 0 0 QO 0 0 0 Qo 0 a TN Vaas ‘OIMIy 2946226008
lo 0 Q 0 0 Q 0 0 0 0 0 Q 3d @3!INLYSA F ONILAXYWW YHOT AdGSy4 9SSPSP9068
0 0 0 Qo 0 0 0 0 9 0 0 0 il INNVAOIS ‘WODON B0ErEZO0RL
0 Q 0 0 0 0 0 0 Q 0 0 0 il OOUvW ‘INVIEWS £F0PLZ0082
0 0 Q 0 0 0 0 0 0 Q 0 0 i OINOLNY ‘OLVIOONOD 1606120082
oO 0 0 0 0 0 0 0 0 0 0 0 iv VINIAVT 'SSNDINGOY-WSNOS 1205-20002
0 0 0 0 0 0 0 0 0 0 Q 0 aa VWISINVG 'NSDVHHONE bh669P9068
0 Q Q 0 0 0 0 0 0 Qo 0 0 sn XUNSH 'ZAGNVNYSH 660ZE04

0 0 0 0 0 0 0 0 0 0 0 0 sn SNIMINOIVF ‘AVMOTIVS 2920261

a 0 0 0 0 Q 0 0 0 0 a 0 iv WNI 'SSNVWHOS 15€68Z0002
0 0 0 0 0 Q 0 0 0 0 Q 0 ga SVIHLVW 'N3x93 SteZ6p9068
0 a 0 Q Q 0 0 0 0 0 0 0 il VINWW ¥10Wd ‘OTIVS 1e9stz008Z
0 0 Q 0 0 Q 0 0 Q 0 Qo 0 30 VITANUHOO 'IMSMOLYNO $026679068
0 0 0 0 oO 0 0 0 0 0 QO 0 i GIWUVH ‘83993 49bzLz0082
0 0 0 0 oO oO 0 0 O O 0 0 sn ANSONIA ‘HOU Z2ZeeOL

0 0 0 QO sa2y 0 S8ty 0 0 0 0 0 ud uaIcIG 'WODYNOWY 96SSE90294
0 0 0 0 Q 0 0 0 0 0 0 0 aq SWI ‘OHSGNATIBH SZeberso6e
a 0 0 0 0 0 0 0 0 0 0 Q ud ANILSIMHO 'N3ANDS3T BEL90SOO9L
0 0 0 Q 0 0 0 0 0 0 0 0 sn YOTAVL AOWHL GLBEZEL

lo 0 Q 0 0 0 a 0 0 Q 0 0 1N ANOMSONY ‘ONOF 30 165922008
0 0 0 0 0 0 0 0 0 a 0 0 nw S3TYVHO ‘ONVdI1Od $1sso00se2
0 0 0 0 0 Qo Q 0 0 0 Qo 0 3d WHOSVS 'SdWNLS SZPOrP9068
0 0 0 0 0 0 0 0 0 0 Q 0 3a SNAIM YAL3d 999669068
0 Q Qo 0 Q 0 0 QO 0 0 0 0 sn VHINVINVS ‘C1VYS9Z1145 B6LPEOL

0 0 0 0 0 0 0 0 0 0 oO 0 3a VONRO ‘NSISW 4S769~9068
0 0 0 0 0 Q 0 0 0 0 0 0 ud SID3Y ‘LAYHA SOLZLSOO9L
0 0 0 Q 0 Q 0 0 0 0 Q 0 i OlNVSON ‘OBWNIWd 12Lp7z00eZ
0 0 0 Qo a 0 0 Qo 0 0 0 0 sn YALTVM 'NSTOAIZ B2ZEEOL

0 0 0 0 0 Qo 0 0 0 Qo 0 0 ya SUSOAYO ‘NASNSISINM EEL PPEOLe
0 Q 0 0 Q Q 0 0 0 0 0 0 nv GL Ald SS9IANRS ANV7 9 ososoonseZ
0 0 0 0 0 0 0 0 Qo 0 0 0 sn SNWLYN 'ZAYYOL PBSZEOL

0 0 Q 0 0 0 a 0 0 0 0 0 nw NHOP SOWVEOH ‘GHOSIId byOSeoooZZ
0 0 0 0 0 0 0 0 0 0 0 0 ud Narnr ‘O1OlwNID b90ztsOOgZ
9 Q 0 Q Qo 0 0 0 0 0 Q 0 id VINVW WNINSS? ‘WHNIMISdaVd SOLNVS 19ZSE000L2
oO 0 0 0 Q 0 0 0 0 0 0 0 30 SIMO ‘GNVUd 9E06Er9068
0 0 Q 0 0 0 0 0 0 0 0 Qo ya NOISIASY 31OH bseo9reole
Oo 0 0 0 0 0 Q 0 0 0 0 Q sn AAOVLS ‘YOCYSAWWNN P9trEoL

lo 0 0 0 0 0 0 0 0 0 0 0 sn CGYVHOle "SS3Od Bh peat

oO 0 Q 0 0 0 Qo Q 0 0 0 0 sn SNAVM "YAONIMLW O@zeeot

0 0 0 0 0 0 Q 0 0 Q Q Q sn HVYVS 8 TANYVO 'YSLLIM 9L9LE0L

0 0 0 0 0 0 0 0 Q QO 0 0 sn SONVLSNOO ‘OJINE BrSEEOL

0 0 0 0 Q 0 0 0 Q 0 0 0 3a WHITSONV 'NNVIWHOT $8 @br9068
0 0 0 0 0 Q 0 Q 0 0 0 Q 30 SVWOHL 'USNOSS CELZE 9068
0 0 0 0 0 0 0 0 0 0 0 0 sn NHO?r 'SINNAG POEPEOL

9 Qo 0 0 0 0 0 0 0 0 0 0 sn NHOP 'NAZLNVP L6ZeeOL

0 a 0 0 Q 0 0 Q 0 0 0 0 nv AGNUL ‘SSINHdWNH 200so00szZ
io 0 Q 0 0 0 0 0 0 Q QO 0 ya IAIA ‘SOHNSY SZS2bPE0L8
0 0 0 0 0 0 0 0 0 0 0 0 nv SQVW 'N3STSIN Eo0so00sZZ
0 0 0 0 0 0 0 0 0 0 0 QO nv ANIINVd “Tava 8b 8Po00sZZ
0 0 a 0 0 0 0 Qo Qo 0 0 0 30 SINOG “ISNWH SBP6ErS06e
0 0 0 0 0 0 0 0 0 Qo 0 0 ud S1SSI9 “TWNHYOS 19PZ0S0092
0 0 0 QO 0 0 0 0 QO 0 0 0 nv ANILSINHD 'NONILNVLSNOO 2862200022
0 a 0 0 0 0 Q 0 a 0 0 0 nv SNIVHYOT LINE 'NOSILLWd €6€Z200022
0 oO Q 0 0 0 0 Q 0 0 0 0 sn WvaQv ‘NOG 8zZreoL

0 0 0 0 0 0 Qo 0 0 0 Q 0 sn SIMHO 'SSWYSH Z9Z2bE0L

0 0 0 0 0 0 0 0 0 0 0 0 nv XV ‘ASTSSOS SZeS000SZL
0 0 Q 0 0 0 0 0 0 0 0 0 3a YALIIG ‘SNvUH BseLspo06e
a 0 0 0 0 0 Q 0 QO 0 0 0 sn AF IHSY 'NVAUE EOSEEOL

0 0 0 0 0 0 0 0 0 0 Q 0 av Iu “LLOWYNAGOW zoosoo0seZ2
0 0 0 0 0 Qo 0 0 Q 0 Q 0 as VHINNY 'NOULSTHYM 1846720r8
0 0 Q 0 0 0 0 0 Q 0 0 0 3a YOLIA ‘SSUNOL VUISHAd EvEz9P906E
0 0 Q 0 0 Qo 0 0 0 0 0 0 ud SLISGVNY3E 'SNIVLNOS ESEELSOOSZ
0 0 0 0 Qo a Q 0 0 0 0 0 aa VPNOS ‘NNVWYSONIW See66r906e
0 0 0 0 0 0 0 QO 0 0 a 0 nv 3LNOUG ‘EID 99vSo0NsZzs
Oo oO 0 Oo Q 0 0 0 0 0 0 0 nv SISVO Od 6SpS000SZ2
0 0 0 0 0 0 0 Q 0 Q QO QO ow GVua ‘NOLITGGIW pSPsooosZZ
oO 0 0 0 0 Qo Q 0 0 0 0 0 HO ATOGNY ‘GNVHE 2Z011S00r.
0 0 0 0 0 0 0 0 0 0 Q 0 sn FINNA?P 'Z3a1u3d30 €Z6PeE0L

0 Q 0 a bese 0 128 0 0 0 0 0 ud SNVINIT ‘WaeveeWS 66 PE9OZ9L
0 0 Qo 0 0 Q Qo 0 0 Qo 0 0 sn VWONIN ‘OTISLSOS 2608161

0 0 0 Q QO 0 a 0 0 0 Q 0 3a YALSIGSNVTH ‘GNVWSIN 8s¢8Z69068
0 Qo 0 Q QO 0 0 0 0 0 0 0 sn UNHLYV 'GOODMVH LSS6LOL

0 Oo 0 o 0 0 0 0 0 0 0 Oo sn AWY 'NOSUHSGNV 6PS6LOb

0 0 0 Qo 0 0 Q 0 0 0 0 a sn LANV? 'Z3ONWNY3 6SZ6101

0 0 0 0 0 0 0 0 0 0 0 0 sn WOlLWd 'NIvdS LS6Bb0L

lo 0 Q 0 Q 0 0 0 Q Qo 0 0 sn VSSITAW ‘VLLOU @r6eLol

0 0 0 0 0 Qo 0 0 0 0 0 0 ad IZVAIN ‘SVE@IWLVS SLLLSe9068
0 a 0 0 0 0 0 0 0 0 0 0 3a VLLIS 'NIZTY SOLeors906e
0 0 0 0 0 0 0 0 Qo Qo 0 0 iv ZNINYSH ‘SWNVH 6S8E1Z0002
oO QO 0 0 0 0 0 0 0 0 Q Qo sa FIOOIN ‘ONIMASW SHLN1 2620629068
0 0 0 Q 0 0 0 0 0 0 0 0 sn VINVL ‘ZONNW 1SZZLOb

0 0 Q 0 0 0 0 0 Q 0 0 0 ud YOINNVA 'GNWAINNOD OLPEes0Z9L
oO 0 0 0 0 Q 0 0 0 0 Qo a Yd VONA1 'XNOGNY LOLpyzoN9Z
0 Q 0 0 0 0 0 0 0 0 a 0 sn AHLOWIL “T1ASSNY SOZZLOL

‘0 Qo 0 oO 0 0 O 0 0 0 Oo QO sn VL ‘ONY bz98101

oO 0 Qo 0 0 0 0 oO 0 Oo 0 o sn NOSVP 'SIM31 LPEB LoL

0 0 0 0 0 0 0 Qo 0 0 0 0 sn LANW? 'NOSHOINA EEZZbOb

0 0 0 a Q 0 0 0 Q 0 0 0 sn VLLANYVG 'ANOE bZpZtOb

lo 0 Qo 0 0 0 a QO 0 0 0 0 nw ABHONL S#0 LeeeoooeZ
io 0 0 Q 0 0 0 0 0 0 0 0 sn WVITTIM 'NOSNHOP SZLZLOL 9/9/41
0 Qo 0 0 Q 0 0 a 0 0 0 0 vo ASTHIHS ‘NOSAWOHL 60€1Z01 SLOLL
io Q 0 Q 0 0 0 0 0 0 0 0 ga YALNNS ‘YIONAE OZ96LE9068 |PZOLb
Oo c c c 0 c c L c Qo 0 Q 3a LYAGNH 'SONVH Sezeorgo6e [E2921 |

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Case 1

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POPS ADPSSSPSEAPSSSSSDSGAGGDSCAGSGGOCOFOBGOODAOGD OC DD CO COD O eC GOOD CODCOD COG OCOO CoO D OD OACD OC GCC COCO COCO CCC GCC CCCG

pogo ogogggg99 FFP G99909FPDBF OANA SSGAGAOGOCFOOCDC ODOC OO DOOD OCC BCOC OC OOO BC DOOD ODOC CODCOD OOO GOO OGC COCO OOOO OO CKoOGCGCCO

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YSSINNS? HONGSVLS bosetor
ODINSNOG "WHNLNSA V1 S9ebzz0082

VIHNWd 'SNOIX 6bbZLOL

BSOr ‘VLYBNH ZZp0zOL
SNNOAA ‘GHWHO!Y egegoge008
AYMAD 'NVHVTIVH ee6z000szz

viouad 'SHVYG sBroz0L
VI'NV ‘THON 66S9PE9068
TSINVG ‘NASsv9oN1 SséLEzPooss

HLIGN¢ '13144NLS L6L0Z01

TIASSNY 'NSSNAP OZ96LOL

TOUVd ‘THva 6096101

VuaG VNSMV LZe6LOL
HLA8vsia 'SUS13d 0291979068
Vuldd “IHOd LLeeze906e
LIDUIE "NSARM 2269879068
OldyOOS WVSL 8869169068

VIOSITW ‘VZZWW 88zLZOL
VuL3d “INO pzposEesoss
VISINVG ‘NSTIOW Lssosesose
YVNNO 'NONVS bzs6re9068

CIVNO 'NNNG Pez6LoL

COX 'LLOOS ZZ68L0L

14380" 'ONIGGSY bebZtor
VONIT “JONVUS €epzoo0sz2
VSUCNv 'NSQy 9Szzges068

NOSvf 'Z30NVNU3S SEELZOL

NHO?F ‘SdIT1IHd 8b0zZ0L

OOUYW 'VrSLVW SS6BLOL
SVWOHL ' SSIH 9€ze0e9068
HOM ‘LONYY BL9e0s9068
fVIOMIN “Taddv s68e9r9068
VLLSBVSINS ‘INOSWW pszzzzo0BL
YVWOVG ‘Bom 060S8r9068
OTYVONVID 'INITVLYN 79611-20082
‘UIC 'NNVWSNWH Ogebersose
OOSSONWYS 'SNOWIS 30 bZLPZZo0RZ
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Hd3SOr ‘ASNVSy 92Z/ E01

3014345 QHVNG3 NS9VINVYVIOSFOULN3A13 296289068
SN TAVHOIW 'LLLOTISDNV1 8 31V9 'DNVHO 6ePSEoL

VNIOTWA 'SNMOUS bBbSEOL
NOSVf 'SW3SM ELLZLOL
“AVIATIS 'NNVWZ13I0 S6ee0s9069
WNVIG 'YSNNVHLYSEO 16ES}Z000L
IWZOSHOSYSHO ‘OWNS WW 9bEL1 10288
VNVSO "13809 06669r9068
MOL 'Y3MORa Sp9srPsoEs
Add3Snio ‘AszOUv 9tvErzo0es
SITANYOO SIM 'SNVWdS 08BLSO00LZ
DINE ‘YAAOND ZS1ZE01
STISHOON ‘viSiLNva opzozeL
B1SINBVO 'ZLN3T LLbLspsoee
51132! 'SSTVYOW LIZLEOL
VNV ‘VIVOTV 60zLE01
ANVAVS 'NVAGNY S0£0001
ZLIMOBVYS WIHOWOr S9p08Er9068
41098 'NOSSWM E988101
YSHdOLSINHO ‘SIAVG £560Z01
GNV10u 'NSNNSU 1 Z6z6e9068
VYCNVS ‘GNVTION NOA bzsol P9068
NVILSV@aS ‘1518 bZbOL P9068
CGO. 'NOSLUAGOY LOsé6LoL

44H NV3d SINSHO1Nd ‘VNVNVWOJOTOSVY OZ8Ef9092

VIZONV 'NOLSSM o098toL
ATAVH ‘WNOW 8892101
YaL3d ‘OSYN 06SLZOL
dM 318344440 ‘ONVDITOM CogsbeEsoss
NV43LS ‘ZLIMVYOW Sz96zz0002
MSSM 'SSIAVG PSSLZOL
NILSHA) "SHONYWM bz0LOP9068
ANOL ‘SNOTVOVW PSseLoL
SONVYYAL 'SWVITIIM 9sBeLot
3AY3H ‘VONVS Oo6Pe90Z92
MA3HLLYW 'NASNVH SZOZLOL
Nady ‘ONOSGUI EZSLZOL
Y3SINN3P 'SIMNVH ESZLZOL
MATAL ‘ADIOIND ZbzLZOL
UNHLYY ‘SANOF SEZ1ZOL
AONVWN 'Y3744507 Sz60z01
AOINVE ‘STVGSyUVE 6160Z0L
ddlTIHd ‘3190S LBSZ6£00bL
VNINVE 'NNVW13ZNISH 0608179068
VuHOSOr 'ANPN 69866£9068
SN3f 'N3ISW13443HOS Loesezoo6s
AQVUL 'SHNOL OZ9EZL

89 SSLVINSA “IWANNYND VEVHSSVHONVHO b01tzL0z88

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f MSNYVM ‘SONS bZLbLgE008
TO T3VHOIW 'NWWHSI3T Z9zLZZ
WNIAZY 'NOSLLVW So08zZ
3 GIAVG ‘AaNSOS Z87zb6L
V ONOWAVY 'SILSND SSSEzZ
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Case 1

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(0 0 0 0 0 0 0 0 0 0 0 0 30 SuORD YANAVYE epsrzo06e
0 0 0 0 0 0 0 0 0 oO 0 0 3a HAWS YaSIVW LNW73H ZboR0e9068
0 a a 0 0 0 0 0 0 0 0 0 ud SVIOOIN ‘LNVITSY €€b61 10092
0 0 0 0 0 0 0 0 0 0 0 0 sn I HVIWSI ‘NOLONIHSWM e9SezZ
0 0 0 0 0 0 0 0 0 0 0 0 as OWVS ‘OVC LL1099b0r8
0 0 0 0 0 0 0 0 0 0 0 0 ya JLLUOUIG ‘GNM 999z9eE018
0 0 a 0 0 0 0 Q 0 0 o a sn W HdaSOPr 'NOGONV1 298ez2
0 0 0 0 0 0 0 Q 0 0 0 0 sn M AHLOWIL 'GOOMUSHS LezezZ
0 0 0 0 0 0 0 a 0 0 0 0 3a ONVDIIOM ‘AS3IO Beeh/Z9068
0 0 0 0 0 0 0 0 a 0 0 0 ut VLL3aVSITS ‘ONOLNWS 1018s0008/
0 0 0 0 0 0 0 0 0 a 0 0 sn QUVHOIY 'NSSTUVS 2ZLZZ
0 0 0 0 0 0 0 0 0 0 0 0 1 O1uae Ty Jsor ‘OOIy bz Lso00e2
0 0 0 0 0 0 0 0 0 0 0 0 sn BOMLV1 'NNWdS 222 p22
0 0 0 0 0 0 0 0 0 0 0 0 3a OLLO ‘NASNNvP 9p6te9068
0 0 0 0 0 ° 0 0 0 0 0 0 sn 2 SOONVW ‘VaIaWIv 3d zoszzz
0 a Q 0 0 ° 0 0 0 0 0 0 ya YNINWH ‘NSS3ddSP LZ600vE018
0 0 0 0 0 0 a 0 0 0 0 0 sn NVSYNWL 'NOGYOO 129272
0 0 0 0 a 0 0 0 0 0 0 0 sn TISYGNOG "SYOWLIHM ZE6222
0 0 0 0 0 0 0 0 0 0 0 0 sn SIMHO 'ASLIHM pesezl
0 0 0 0 0 0 0 0 0 a 0 0 3a YAL3d 'NNVWZL3N71» 99zeee9068
0 0 0 0 0 0 0 0 0 0 0 0 sn NVING 'SNVT LvOLZZ
0 0 a 0 0 0 0 0 0 0 0 0 i VOSIONVUS VIN 'INOONVHINV) 6S/ 1700082
0 0 0 0 0 0 0 0 0 0 0 0 ON NALYOW 'SANAWWOLS €901€12028
0 0 0 a 0 0 0 0 0 0 0 0 3a CIVYVH 'SSSINNSOL 820819068
0 0 0 0 0 0 0 0 oO 0 0 0 sn 3 INSTUVHS 'SNIDONH Os6ezZ
0 0 0 0 0 0 0 0 0 0 0 0 ya VNNOG ‘SLLSNOSSIE epzesccoLe
0 0 a 0 0 0 0 Q 0 0 0 0 30 TAXV ‘SddO Sh662E9068
0 0 0 0 0 0 0 0 a 0 0 0 sn AWLSAUYY 'SOBOWTIA OO0EZL
0 0 0 0 0 a 0 0 0 0 0 0 sn 3 TIASSny 'SNOWWIS €ZOLZ2
0 0 0 0 0 0 0 0 0 0 0 0 sn GASINVHO 'SANOF 6b9L PEL
0 0 0 0 0 0 0 0 0 0 0 0 sn X3u ‘SINVH Z/ZE72
0 a 0 0 0 0 0 0 0 0 0 0 3a ALLAP 'NNLNOD 3ZINHOS sr9ze19068
o 0 0 0 0 0 0 a 0 0 0 0 iv NON 'N3sHOLSTSGNY B8sz2Z0002
0 0 0 0 0 0 0 a 0 0 0 0 sn YSHdOLSINHD ‘LNIVSSINNATA bLZEZL
0 0 0 0 0 0 0 0 0 a 0 0 30 VINWW 'HOSLUVE 0626629068
0 0 0 0 0 0 0 0 0 0 0 0 ud 3N3TYVHO ‘OSNAlay 2s¢8120092
0 0 0 0 0 0 0 0 0 0 0 0 ud SOIMLW3G ‘LINVNSA 0Z0E9P0092
0 Q 0 0 0 0 0 0 0 0 0 0 ud ONVITIWISSWW 'OldOD0Hd $8662Z009/
a 0 0 0 0 0 0 0 0 0 0 0 sn ALLAG "SINNSH 2/2122
0 0 0 0 0 0 0 0 a 0 0 0 3a S3TYVHO '3YARI31 18992 L00S2
0 0 0 0 0 0 0 0 0 0 0 0 ON GUVOAISWH WINSWS dIarHVLVG WHA SerzoLzole
0 0 0 0 ool 0 ool 0 0 0 0 0 sn MONNOA 'A3HY 9281 b61
0 0 0 0 0 0 0 0 0 0 0 0 iv TeVH 'NSHDOLS OZELZOOOL
0 0 0 0 0 0 a 0 0 0 a 0 30 GNuaa 'HOVESOW Zezesz9068
0 0 0 0 0 0 0 0 0 0 0 0 30 Nv431S ‘SHHOSUANG s99zLeg06e
0 0 0 0 0 0 0 0 0 0 0 0 ya vr QVASUY NOP 'NSSHIC3d BOOPlvEOLE
0 0 0 0 o 0 0 0 0 0 0 0 ud VPLWH 'SUATIASG 991 70Z009/
0 0 0 0 0 0 0 0 0 o 0 0 3a BWINTN ‘HLISY braccesose
0 0 0 0 0 0 0 0 0 0 0 0 3a SV3UONV 'NSONILLSE 427/z20¢9068
0 0 0 0 0 0 0 0 0 0 0 0 3a VHINOW 'Y3HOSIL 9bL2Se9068
0 0 0 0 0 0 0 0 0 0 0 0 3 NVILSINHO ‘WO3MZ p90S8E9068
0 0 0 0 0 0 0 Q 0 0 0 0 30 SNNWSNS ‘NNVWYY3H 298S2e9068
0 a 0 0 0 0 0 0 0 0 0 0 ud N3ILSVGAS 'SNNVEYHO 9//6b90/9/
0 0 a 0 0 0 0 0 0 0 0 0 ya MIMNBH THNP 'NSSUSa3d Lezezeeore
0 0 0 0 0 0 0 0 0 0 0 0 ya DAG-O4 GOELSEEOLA |peSZt|
a 0 Q 0 0 0 0 Q 0 0 0 0 3a HLGVSITS 'HOOW bzbLeego6e [EZSZE|
a 0 0 0 0 Q 0 0 0 0 0 0 30 48D VNSYSA LLNSIWA N LUSEON ILNATWA ezzesesoee [22521]
0 0 0 0 0 0 0 0 0 0 0 0 3a SZNVISNOO 3dINLv3a 'ZINANANO esegzesosa [12S]
bezel 0 pe'ZeL 0 ve'z6L 0 ve'z6l 0 Q 0 0 0 ud NONASSSNOH ‘WNINW NWWINWS 26z9p90292 [0ZSZ1]
0 0 0 0 0 0 0 0 0 0 0 0 30 WrlIWZOU ‘AHN Sz9pee906e [61521
a 0 0 0 0 0 0 a 0 0 0 0 sn @ OGHVNOAT 'NVHVOVEWNWL 6SZEZZ [srSZt]
0 0 0 0 StLL StLd 0 0 0 0 0 0 ud Nvar 'ANO@ 3G vazesroogs [ZISZ
0 0 0 0 0 0 0 0 0 Q 0 0 3a LIDIG 'HLOM Sesseeso6e [9ISZt
0 0 0 0 0 0 0 0 0 0 0 oO ya SNNWSNS 'N3SNAr ziszeecote [StSZt
0 0 0 0 0 Q 0 0 0 0 0 0 3a LYAaY3H 'ZNNM Eesageso6s [yISZT
o 0 0 0 0 0 0 0 0 0 0 0 ya Owe 'NSSN3P-HIANSH p9606eCOLs [ELSZT
lest W's 0 0 a 0 0 0 0 0 0 0 ya NILUWW 'NSSUSONV Z696See0L8 [ZPSZL
0 0 0 0 0 0 0 0 a 0 0 0 ud BHdOLSIYHO 'NIVAIND3T PESLbPaogd [LESZT
0 a 0 o 0 0 0 0 0 0 0 0 3a SDINV 'H34OH agesoego6e [OLSZ1
0 0 0 Q a 0 0 a 0 0 0 0 lv AaSOP 'MAWWHONG €2682Z0002 |60SZL
0 0 0 0 0 o 0 Q 0 0 0 0 3a ACQANS "MUVWANNVG bye@Z00S2
0 0 0 0 a a 0 0 0 0 0 0 sn BING “TONV €bSLO0L
0 0 0 Q 0 0 0 0 0 0 0 0 i VANIN 'VNVIVA pL96900082
a 0 0 a 0 0 0 0 0 0 0 0 sn S MIN? 'NOLONIHSWM 66£S22
0 0 0 0 0 0 0 0 0 0 0 0 sn NATINWW 'SWVITIIM Z96eZ2
0 0 0 0 0 0 0 0 0 0 0 0 qN S¥VT>W3TIIM ‘VINdSIe Zys96Se008
0 0 0 0 0 0 0 0 0 0 0 0 sn MASOF 'VNU3D brpsZz
0 0 0 0 0 0 0 0 0 0 0 0 sn d MBONAdS "AVMWNHS ZbbSZZ
0 0 0 0 0 0 0 0 0 0 0 0 sn WAMBHO 'HNOSYY LbLbZL
‘a 0 0 0 0 0 0 0 0 0 Q 0 30 NILUVIN 'ZLUND Ze006z9068
0 0 0 0 0 0 0 0 0 0 0 0 sn YU Gauvr 'NOSUBON a6/EZL
0 0 0 0 0 0 0 0 0 0 0 0 sn NIATAW ‘OCNVHO!d LevezZ
a 0 0 0 0 0 0 0 0 0 0 0 sn WNINVHS ‘VOVTIWL Zabezd
0 0 0 0 0 0 a 0 0 0 0 0 sn LLOOS 'NOSINYWH O8LEZZ
0 0 0 0 0 0 0 0 0 0 0 0 i YALTWM 'VITUY ZepLoLozes
0 0 0 0 Sezb 0 sezp 0 0 0 a 0 ud 3IHdOS 'NAINNYd 9P€98/009/
0 0 0 a 0 0 Q 0 Q 0 0 0 sn NVHLWN 'JOOOSWA LLEZZZ
a Q 0 0 0 0 0 0 0 0 0 0 sn V HvdO8Sd 'NSTISNS LeEzZZ
0 0 0 0 0 a 0 0 0 0 0 0 sn WAN ‘NVWTTIW SZZbzZ
0 0 0 0 0 0 0 0 0 0 0 0 qN 1937 ‘OPOrdiIMOLUWN 1zZzay9E008
0 0 0 0 0 0 0 0 0 0 0 0 3a ONVOITIOM 'SNISSON 689929068
o 0 0 0 0 0 0 a 0 0 0 0 3a QUZOP "YAWWYH apseeegoss
0 0 0 0 0 0 0 0 a 0 0 0 ud IN3UNV1 'YSINNOW 0&b2z80092
a a 0 Q a 0 Q Q a Q 0 Q sn ASHYYOS 'CIWNOGOW eezZzz
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Case 1

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8 GIAVG ‘A1a30109 LSL9zZ
SUV “LNVI313 OPLZp6L
f TAVHOIW 'ASTMVH 6EESZL

sn
4d 19SNV WINDVOF 'VLSOD 3 OHNId WATIS VO OPSELLOZLZ

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0 0 0 0 0 0 0 0 0 Qo 0 0

10 0 0 0 0 0 0 0 0 0 0 0 sn N AVNOLSONVL 'SWOS! OL Lez

0 0 0 oO 0 0 0 Oo 0 0 0 0 ya Nvf 'NASWOHLL Sezoseeole
0 0 0 0 0 0 0 0 0 0 0 0 sn 1Y38Ou 'SLNOWT 8/e0e2

0 0 0 0 0 0 0 0 0 0 0 0 sn OVUVL "ISNOW eZeLed

0 0 0 0 0 0 0 0 Q 0 a 0 sn fIQI3H “IWHLSISMS S@6LeZ

0 0 0 0 0 0 0 0 0 0 0 0 sn YISO NOW Lz6LeZ

0 O 0 0 0 0 0 0 0 0 Q 0 3g SVIHLVW 'LYSNHNY Z9S9L E9068
0 0 0 0 0 O 0 0 0 0 0 0 30 VPIVLVN ‘OMNSTWMOX 882Sz69068
lo 0 0 o 0 0 0 0 0 0 0 0 sn SNILSINM ‘GYVONWdS Les6zz

lo 0 0 0 0 0 0 0 0 0 0 0 sn WvQv 'NASNALSINHO 9ze6zZ

0 0 0 0 0 0 0 0 0 0 0 0 sn NVAU 'MS1VM 6LE6ZZ

0 Qo 0 0 0 0 0 Q 0 0 0 0 vo QVUNNW 'NIGGN Zporee

0 0 0 0 0 0 0 0 0 0 0 0 il OGHVSOIN 'NINNL SZe6po0082
0 0 0 0 0 0 0 0 0 a 0 0 il Olsvs IDONLYW 22rPooo08Z
0 0 0 0 0 0 0 0 0 0 0 0 sn WVITIIM "3I1OM S9EZEL

0 0 0 0 Q 0 0 0 0 0 0 0 3a AGA NASON P6e0879068
0 0 0 0 0 0 0 0 0 0 0 0 30 S3YONV 'LYAWW3Y OOLEZz9068
0 0 0 0 0 0 0 0 0 0 0 0 IN SNVEUVH 'HONIS 6hreeseo0s
0 0 0 0 0 0 0 0 0 0 0 0 3a 3MN 'S3NV1 bbZ198Z9068
0 0 0 0 0 0 0 0 0 Q QO 0 sn UYBHdOLSIYHO ‘GVLSdNvs LogPeZ

0 0 0 0 0 0 0 0 0 0 0 0 sn NNv Of 'MOluWZ egeees

0 0 0 0 0 0 0 0 0 0 0 0 sn ONI SADIANSS H 2 UY SSEEEL

0 0 0 0 0 0 0 0 0 0 0 0 ON YNLNAOV SGVLSAAT 9EZLELZOZe
0 0 Qo 0 0 0 0 0 0 0 0 0 sn 3LL39NORO ONIN 9290EL

0 0 0 0 0 0 0 0 0 0 0 0 $3 N3WYV9 140 VINVW 'NO37 AOdOD Bg69SlOZeZ
0 0 0 0 0 0 0 0 0 0 0 0 sn INV1V1 ‘YAYVSNNH SOocEZ

be céL 0 be C6L 0 bS'Z6L 0 yecél 0 0 0 0 0 ud d N3NNP 'YSINNOW31 S28Sb90Z92
0 0 0 0 0 0 0 0 0 0 0 0 ud SSING ‘May Le99sPp0092
0 0 0 0 0 0 0 0 0 0 0 0 30 OOUVW ‘YSIS Zescoeso6s
0 Qo 0 0 0 Q 0 0 0 0 0 Qo as NVSSVH ‘ISvrve s9z999r0re
0 0 0 O 0 0 0 oO 0 0 o 0 sn W v712 ‘SNWNDS veroeL

0 0 0 0 0 0 0 0 0 0 0 0 sn AMON 'GNVILSV3 BLezee

0 0 0 Q 0 0 0 0 0 0 0 0 sn UY SNIHdSSOP 'NOSGIAVG P9ELEL

0 0 0 0 0 0 0 0 0 0 0 0 il VNINALVO 'INSIGYVE €6ZEr00082
0 0 0 0 0 0 0 0 0 0 0 0 sn NIMG3 ‘VZUVIV9 LSOLEZ

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0 0 0 0 0 0 0 0 0 a 0 0 ao Wir '"SYOOW 220SS2ze898
0 0 0 0 0 0 0 0 0 0 0 0 1N IOV ‘SN3d5HOS 9Spzese008
0 0 0 0 0 0 0 0 0 0 0 0 ga AdV10 ‘W908 660eZz9068
0 0 0 0 0 0 0 0 0 0 0 0 3a YSNLYWd GNN 13014s zrezez906e
0 0 0 0 0 0 0 0 0 0 0 0 sn VIDINLWd 'SIGIND BrezeL

0 0 0 0 0 0 0 0 0 0 0 0 ud BNDINONSA ‘AOASIM OLOB9E0092
0 0 0 0 0 0 0 0 0 0 0 0 30 YVWOVG 'NSHOVWNHOS BE0SL E9068
0 0 0 0 0 0 0 9 0 0 0 0 3a ANILSINHO 'N38SVYONNOS b//SS79068
0 0 0 0 0 0 0 0 0 0 0 0 30 N39YSNM-LYNY 'HLONNISE O1sesz9069
0 0 0 0 0 0 0 0 0 0 0 0 sn TAHLOWIL 'SONINWND LPLOEZ

0 0 0 0 0 0 0 0 0 0 0 0 sn VGNVM “TIVHSYVW 9EZ082

0 0 0 0 0 0 0 0 0 0 0 0 sn 4 TAVHOIW ‘SOUISGSW LipOeZ

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oO 0 0 0 0 0 0 0 0 0 0 0 ya SOW 'NSXOA LZ9z8ee0Le
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0 0 0 0 0 0 0 0 0 0 0 0 sn ATIOH ‘AGN 9OLEEL

0 0 0 0 0 0 0 0 0 0 0 0 Yd BOING 'YSILANNVd LSzOSPOO9L
0 0 0 0 0 0 0 0 0 0 0 0 sn ONVWNP 'VYSAIY peBLZL

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0 0 Q 0 0 0 0 0 0 0 0 0 sn V WNNVINGY 'SNDON SZs9zZ

0 0 0 0 0 0 0 0 0 0 0 0 sn ANOHLNY ‘SS1VYOW 995972

0 0 0 0 0 0 0 0 0 0 0 0 sn 517837 ‘3108 606szZ

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0 0 0 0 0 0 0 0 0 0 0 0 sa ANVNP 'VIDUVD VAVULV IVS Z8ELSLOLEL
0 0 0 0 0 0 0 0 0 0 0 0 30 SYCNv 'Y3NGI7 8b9z819068
0 0 0 0 0 0 0 0 0 0 0 0 ON VON 'NASLS b2p90z20/8
0 0 0 0 Q 0 0 0 0 0 0 0 30 INNVAOIS 'ITIVSIA S9S89z9068
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0 0 0 0 0 0 0 Q 0 0 0 0 ud FYNAld “WAZOO G 2560120092
0 0 0 0 0 0 0 0 0 0 0 0 sn £337 'NOSNHOP LépezZ

0 0 0 0 0 0 0 0 0 Q 0 0 3a UIC ‘DYSENISM SLeszego6s
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0 0 0 0 0 0 0 0 0 0 0 0 3a TWHINAddNH SSIdLagNaXxvl 2Zsozes06e
0 0 0 0 0 0 0 0 0 0 0 a sn UY ATISHOIW 'LNVED 620272

0 0 0 0 0 0 0 0 0 0 0 0 sn UW3 'WWVYOSIOM 295922

0 0 0 0 0 0 0 0 0 0 0 0 sn TAIN? 'Guv110d oseszZ

0 Qo 0 0 0 0 0 0 0 0 0 0 ud N31 ‘SHONA 909S9E0092
0 0 0 0 a 0 0 0 0 0 0 0 sn NVHLVN ‘SNOOL 0€S972

0 0 QO 0 0 0 0 0 0 0 0 0 aa SMOININ 'NNVWAIOH 60600z9068
oO 0 0 0 0 0 0 0 0 0 0 0 3a TSONVW ‘HOABYANY E8PhrL9068
0 0 0 0 0 0 0 0 0 0 0 0 sn AANGOHW 'SWWOHL 696EZ2

0 0 0 0 0 0 0 0 0 0 0 0 as TAVHIW 'NOSSNHOP 6E0ZESPOrs
0 0 0 0 oO 0 0 0 0 0 0 Qo sn STAINVG ‘ONVYNsS ZL99zZ

0 0 0 0 0 0 0 0 0 0 0 0 3s TSINVG ‘NOSS13XV Zzz0EsbhOrEe
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Case 1

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VIW13H ‘11SNO8 S6s6so0082
Anwd Nvar ‘LINVG sossse0092
A NATIAVW 'YS0NSM Spl AZZ
VLLA8VSINA ‘NYOS EgeeLoo08Z
SNVSSOW 'SN3S 61 Z8P9092
Wf ‘GNOMSNZOND 1a00rse008

GNV10 NISLSAS SDIANSSHALSSWLAVA 8182602028

STAIN ‘NVA NIGUSONIM LZeeege008
ONOTIVA ATG ‘NLNAW 94261 0092
JN313H 'NBAWW BpeSZZ0092
MOOS IN 'WYWd SZLZZz
V TAVHOIW ‘WIOH 865922
OINOLNY ‘OTILLNOd LeLosooos2
O NV3P 'YSIAMO ZzzeP90Z92
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SLLAW ‘CINGHON Zzseereole
f NVI 'SNDIMVH Logoszzeee
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373 'SN3TYVO Z9pzeLO0SZ
NHOP '4adNVLS 8629679068
BOYOSO 'NASNVH beleZecors
QUVNGA 'SNALYWW 688209068
SIATAS 'SNOANNWM 68LPOPOOSL
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GUVHOIY 'ANOIMOIA Z0B6eL

SNVISOP 'LUSENH Zezzs Loose
VHLUVW 'SCISHUSLSSM 6SS6679068
W ANW4dIL ‘SYSMOLS OLZ9E2
d S3TYWHO 'OddIIINVS ZyZSeZ
AYU ‘NOLSONVT 0920b2
NVILSIYHS ‘HLYSETSIA O/zase9068
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VLLITAW ‘IWW 696€2€9068
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UYSMIOA 'Z1INHOS 9P9e9E9068
SVWOHL 'NISN3P 069PS00Z18
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W1uvd ‘ANOIDNVS zeseso00eZ
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VuVSHO 'INVOVd pa69za00eZ
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SLWN3Y ‘MOUVHOVS $998629068
VWI ‘LOIWHOSHO318 p98Z6E9068
WIG 'NVA ANrING zezoogeo0e8
OOUVW ‘HAE LbpSeeso6a
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f TAVHOIW “ANILSNAXIG O9SZEZ

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Plo coco cc coco COCO O ODOC OOO OOO DODO OC OOo OOOO OO OOOO ODO OOOO O DOO OOCOo BOB OOO BBB OO BOOB OBB OO DDO BBO BAO OO Oooo Oo

Hoon cn ccc coo cD COCO OOO COO O OOO OBO OOOO OOOO ODO OOOO OO OOOO OOO DOD OOO DOOD DOAOOGDDD ODDO BD BODO D DB OCABOCOS OOO OFF

Hoo coco coco Oc O ODOC OOOO OCOD OOD OoO OOOO ODOeoOOO ODO OOOO OOO C OOo OBO OGOO BDDC COBO OD OOoDB OOO DBO BAA OO BOOB BBA fe OOO

Flo cocoon cco eo oOo ODOC OOOO OOOO OOOO oOOOeOOC OD OOOO D OO OBO OOD OB OBO COCO D OBO OOO OOOO OOO OOD OBA BOO eA Oooo FO eB ooo

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POPDPBGVAGSAIAIGSPSSSCSOSGVOFSCADC ASSO SOOO OB OCOCOBD OCOD OOOO BDOD COC OCC OCOCOCCOCD DOC OC OCOD OCC OCC CO OC OCC OCG O OCG GCCCG
ee eoggggggg9gGG9D FFA DD OOF AO BOAO OBC DODD OOO eC BoC B OD CO OC OD OOO CC OOOO ODOC ODD COCO ODCC CCC OO CCC OC CO OOO OCCCS
poo GoQQ2FGGGFGQ9CQ9R9R290090T905D99099090900050000000CCCCBBF COCO COC OD ODOC OCeGC CODCOD DC OOOO COCO CCC CC OCC OO GCGGCCS
eT OD QOPOPPBGAAPSVGFSGI9SCFAGAVDSOFSGAGCACAOSCODOO BDDC AOA DOC OCOD C COO Oo OO DDO OC OCC OCO CoC COO COCO OOC CCC COC COCO OC CGO OC CCS
josoaosggagggoC oO BGO ODO OND SGSGD OBC OBO OG OF OOO Oooo OOOOGC BOC OOO Co OOD OD OOOO DOO CO ODOC OOCOC OOOO COCO COG OO DOO OCOON
eoggggggg99FS99BDDD DD GD COF CD OOO CoOoO DOO OSD DOGO OOD OOo eO DOOD OOD COC C OCC COCO ODOC OCC COO CCC COCO OCC OCC OOO COOGCSG
googogg ggg 9999 gG 9099S SFFSF AOD e SOS oOSC Oo BOD ODD ODDO COCO oD OOO DOOD OG AaB OOO COCCC ODDO COO COC OC COC OO OOO oC GOGO OCGS

eoogeascgoo go SoC OCF DOOD SOBAOC OOO e OOOO OOD AOGOC OOOO C OD OOD CC OCC COCO O COCO OO COO CC OOOO moO OCCCS

POTDSIPSPSVPSSSPVSSGDASSSSSSSSSSSSSGSSDODCSOOACDOOOOODOODOOOOOOOOOO OOOO ODDO OOOOOS

eec0e0900ceaoooO OOO R COC OO MODOC OO C Gao
SPeS00000DDFDOCOORDCOOOOMGDGOOOCOGGG

ANOL ‘NOSSHINS veLLSorore
SITAWW ‘3d1VOV LszLs90z92
-NVUs 'HLSN beoshz9068

YOON 'IHODONNVIO OBE6EL

ZNUD 'SVZNVINTY Le06eZ
BONITY39 ‘d743dNH essezego6a
NVMUVL 'NVYINMINSO ZL9eeego68
1Y3893 ‘SCTIWS pSibegcoos
’uIC 'NYOSHONE ss0z0z9068
NNVW4SO¥ OUNSO? Llebbesose

S VISONV 'NSSYSONV LosobZ
ANDINIWOG "SNNSHYNB LSPSzLoosz

1 S31VH 'NSNUVS osseeZ

AGNY ‘SOW 2r6ZeZ

VIOIWW ‘OAW1ad ShELEL

S1Nvd ‘SLIHM Ze9seZ

V LUS8YSH 'NOLTAW 2zLsez

SINYOW 'HIVW ObOOrL
Yad ‘'GYVvVD3G3H ZozeceeOLs

‘TNHOP 'NOSNHO? 6sL6eZ

H BVM ‘ar uv19 ZZ88eL
H1IG3 ‘I5IGVLSOD Szsgo00082
OOSFONVUS 'INOS7 6598500082

INBAIML 'NONVE B80Z9rEL

ANSE ‘TISMOS Szsged
onnr ‘OvNvdi 2yezecsoss
SLVNY ‘INNS e6zbzeg068

W3 SSIN3q 'N3IMHL ZLOOrZ
SNILSINHO 'NVWYSWWIZ 9996269068
ODSIDNVYS ONG3d ‘OZN3YOT LUSGNVP OSS/SLOZEL

Vulad ‘OSLO pseeed

W VGNOHSV1 'SWITIIM oseeez

V VINOLOIA 'N3ASSV1 SOSBEZ

f TAVHOIW 'NSONINW3O O9sgeZ
GON ‘vWSUNNG tesezge008

VIOAT ‘GuWaa LzsBeZ
Vdlud ‘GYVVOAN NASUNVT 2891 LPeoLe
NV 'NSTIANW Lstosesoss
VIIV1 ‘HONNW pOLeObEOLS
SVWOHL 'GOBCIOL coltzreore
WNVPLVL ‘ONYM Osgo9e906e
V13SI9 ‘NSSNVHSY3gS7 P9Zeseso6s
NIV1v 'XNOINSHS Le99z P0092
TSVHOIW 'Y3SSIM 809SbE9068
NOIS 3G IVW ZLZZ6ec0L8

TINYSL 'GYOINVS Z9SzbZ

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4 VHSSYNT 'MOIN ZS6LbL
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MIAYAddINS AYVWH 9bLLELZOZe
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VHS3AV ‘GVWHY 68S>S00/18
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TNIATSW 'NVONNG 968zb2

NHO? 'SVOUVA €Z8zbZ
VINILLIA ‘WITOVAYOD ELL9EbOOSL
HMOLNVS “IWHOP 621227888
VNINWW 'ONZS3T 00rEz9068
SIN3G 'WvHd ZObegroosz
BHdOLSINHD ‘GNVUID Ee6ar90Z9Z
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YSONVXSIv ‘T3GI3s eZzeeeoo6e
BOIANSS ASNONNW SN3SNVH SOAV ZLbZ6E£0L8
VYNNO?P 'WIOHYOLS 26961 bE018
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‘Hid SILL “LLY bL6zbL

QNS3STHLYY ‘SIHSIY Z96zbL
NOLNV ‘CIOOWW s9L8le9062
SGNV1O-SINWW ‘OSOB 9428h9092
UVW3GTVM ‘3718 OSOLPEesoss
S NLLUWW 'NVIN3H Loe6b/zeee
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Case 1

coococ ooo DOOD OOOO OCOD OOOO DODO OOOO OSD OO OCOD ODD OOC OOO SCO OO OOD OD OO DOE eC OOOSB BOD OD ADO ODDO OD e DOBBS OOOO 80O

3a WHINOW 'HLWNOG b18Z9e9068

aa WHSA ‘W1d Or2z100s2
3a FONNOUNEG 'MAGHAYS plZe6E9068
il O93 ‘SILN3O PStrso00R2
ga VNIMI ‘OHFaXv pleoseso6e
30 VIAIIS ‘ldWdSVy BOZE6ES06E
il WAYONV ‘YSSNVAVe 7661900082
3a N39NANr ‘TAONVG bz Ze9068
ya VIMWW 'YADILLOE ZZp6ZELOLE
xa N3LLIG 'SOOW I Zzezpeole
IN NNVWHYSLSO SYONV Z/S/6S€008
ud NalInr ‘LY3eou Zz6rOz0092
il BS ISINVG 'ASSAVNVO 0814900082
ON SNILUWW ‘L3SSY ELezz1Z028
30 SVWOHL 'LOTSH 9446629068
3g WINV9 ‘SNAYNH3G 19zz0E9068
yd UNV? ‘NSSNSLSIMH LPZeeveole
3a TAVHOIW 'HLOUId bZbZEE9068
3a TAVHOIW ‘N38NwS 801Z0E9068
sn 1 aSsar ‘NOSNHOF 1BZepe
sn S NBYNV1'YOTAVL thbZpe
ON TSVIW UYNOVE 'NASTNVd 1OLepLZoz8
IN VWUI 'SNNSHONG egpesseoos
ud ASAOTY 'NNHD ECOSE9PO09L
3a ANIGVN 'SHLSYH pooZeesose
3a FIOODIN ‘ZVA - SMOINHOS O110Ez9068
aa NOIMVW 'YSONISSISYd Ov Leze9068
30 TALINOW 020S0E9068
N WW WOU '30 YSLNIM Zeesegeoor
3a QVYNOY 'M3AISWLISY 00SP679068
sn VUVENYE 'OLINWYZ-IZZYNVO bLezbl
wa N3L1OH NVI1IT 'NSSNVH ZLBezPeole
wa @ SVWOHL 'NASNSP Zo0ZZe€018
ya VNIL ‘ONION prezeecole
30 ONIN ‘OZZV1¥d Z9908E9068
3a VZN3YOT ‘SSDOTIVA B0PSZE9068
3a GINONI ‘MASIVW 986z8E9068
ud ANVHdLS ‘GNVEWVY 791 P6L0092
TN NOISSV 'NOTMS 9912298008
it OLYSEON 'INISSNE Lel9900082
iv GYVHYSS 'HLND Sal90zo002
sn GIAVG 'VISNZNAIWA 682ZL PL
3a L3BWHAW 'YSyuSNL BSPoresoss
ya NNVIWAN WONIT 'N3SYa03d 9b e0reols
i OLYSEON ‘SHOW E6aryo00es
3a N3AS '‘LOYVH1SONA blzeaego6e
ud ON1 NVar ‘A1Or porsezoose
ya SN3P 'NASTSIN Zagpzpeole
3a SLLSNYN ‘SONINM 88Z08€9068
aa YAICIG 'SNSMMVE 1229210052
1N WALSASUYVS YSLLO NAG b29bp9e008
av G11 Ald SYVH HLTW3H TWSUAAINN SSbza00s22
sn NIATWO 'HSOTIM 2Z0SL01
sn 3SSo ‘VAS ’Z0ZL0L
$3 VuvVENVa ‘DYFENALHON Se6seoooeZ
nv HV¥M HONL ‘ONOHD 268L000SZ2

nv G11 Ald (LSN¥) SNVOT SWOH Gidvu @S06100072
AV d VIIVELSNV ONILINSNOD AOOTONHOSL 89Z1000SZ/
av Ad1and ‘1139937 s9ztoooszz

nw WONIT 'NMAONE Soso000szZ
nw HL1W3H 4O 39N3Ss3 06z0000sz2
aa 3113 ‘NNVWHANNE s9zsep9o6e
3a SNVH 'HAISWLLIG €erSbL9068
sn CIWYHSOZLINS 'MVEIY! BLEZLOL

HO. SLUOIYG ‘LATd $t990z00b2
nv WOOD'AMNITE STONN O€2z000Sz2
nv AOVUL 'SNOWWISZLIS ¥290000S22
HO MOIMLWd 'YAILLOD Ep9EO00r.

Hoscccoccc occ Docc DO GOO COO e DOOD OOOO OOOO OOOO DDO OOOO OOD ODO BOBD OOOO DD eD OD ODD OOD ODD ODDO D BO OBO SAAD OOF GB |000

bo ococc cco co ccc Ooo OOD DCO OOo OOOO DODD OOOO ODO Oo OCO ODO DOOD OOOO DO OCOD Ooo SOOO B BSG OOD ODDO BADD OBO OBB OOOO O00

Hococaocccc cco coo oc Oe Ooo C OOOO OO DOO OOO OSD OO BOO OOOO COO OOO DOO Oe DOO OOD OOOO BOBO O DAB O DOT OAD BAO BBA DOO OO O°°

Hoo cccccn ccc oc Ooo OD OOO oo OO OOOO OOOO OOO ODO ODO ODD OOOO DD OBO OOOO oD OD ODADAS OOD ABO SOO TOO SB DDO DDB OA OB O08

Hoaccoccccc coco Doo COCO ODOC DOOD OOO DO DOOD oC O OOOO D OO OOo OOS OOOO OOD OO BOO OOS AOD SB BAO BODO DADC OBA ee ABO IFO oO O°°

HHoanccccaccc ceo DCO OOOO Oooo BODO COD ODO ODO OD OOOO OOO OOOO DOOD CBO SDOO DAB OOO BAB ODO ODO BD ODDO BOB ABO OOO OOO °°

Hoccnccc ccc cece Docc oOC COO ODO eBDO OOO COO CO OCC OCOD D OOOO BODO OCOD OOD ODD eDAOO BOB ADA OD OOD DOB DODO ABBA OOo OOO 8°

Hooacccc ccc cece coc CDC C ODD De ODDO OOO ODOC OBCOBCODO ODO DODO O OOD OOOO DO DC OD OBA DOGO DBC OO DOD OD DD OB DOOD ADO OOP

Hoecccaccccc cco ceo OO DO ODOC OO OB oO DOOD ODO ODOC DODO O OCOD OD OOO OOO CDAD OOF AOSCO DODO OSGOOD COBB ABAD OOD Deo ae OO O°

boc cccncc nc ccc cco COC CFOC OC OCODD DO COOODO ODOC OoOBOOODOOOOCOO BOO OOD DOOD OOD Be BoBC OSC COD OOD DDB OB DOB DDO OOOO OOOO

sn VIMAX ‘SSNOP LLOPLOL

sn “Nd 'N33UNS 296e 101

nv SINS TWA ‘ASNNIT 9680000822

av GIAVG 'Y3d009 see0000szZ

nv NOUVHS 'SASYHAWNH zesoo00szz
NVIOILNTOS NOLLVIINNWWOOSTAL NOIeUTX eeso000sz2

sn SILWH 'NOSdWOHL 16Ze101

av 1Y3GON 'J4¥VIS 9L}0000SZz

AW LSMYL ATW V4 NSNOAUIH OISNA MALSd LeLoo00szz

sn YNHLYY 'NOSIMNWH C6ZZ101

sn SNNVOf “TIIH ObEZLOL

sn WAYA MATIN 999ZLOL

sn JIVHOUWW ‘NOS y00LOL

sn 3lgaaq ‘NOSWVuav bbOrLOL ZeLt
nv HVYOPSA 'WOSNVS 6990000SZz foZt Zt
nv QL1 Ald Wildv9 NILYWW p990000Sz2 [6LIZL
sn GvG31IOS 'vN3UN zzeztor = [BEEZ
sn NATAGNIM ‘OGNITWWS ZépleeL = [ALE ZL
sn Ovi 'SaTererto. = [OLbZr
sn NATOUVS 'OOAHY Z2p9SL0L SELL
HO SLLOTYVHO ‘IENWH @s190z00b2 [PILZL
sn TAVHOIN '3IT1HO Z00S101 edt
HO LNBETv ‘ONYOHOS sp9zzzoors [ettZt
$3 TS TWNOLLWNYSLNI ONITAHOL $2061 L00eL [LLEZL
av AMMVH 'NOMAG es60000sz2 fOLLZL
30 INV 'NNYWLIOM eeztsesose [60121

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Case 1

0 0 0 0 0 0 0 0 0 0 0 0 sn SONSUHSL SOOVE eseclol __[edrZt]
0 0 0 O 9 0 0 o 0 0 0 0 HO OIGNLS SONNYSGYHOSSLIBHONNSSS €8280Z00rz2 [2012 Ly
0 0 0 0 9 0 0 0 0 0 0 0 ud SVIOSIN ‘NOUNS zérlysoz9Z [20121]
0 0 0 oO 9 0 0 O 0 0 0 0 sn VANWL 'SSNOLS LOsLtOL SOLL |
0 0 oO 0 9 0 0 0 0 0 0 0 sn AMWW 'NOSNIMDIC ZEZ9LOL OLLL |
0 0 0 ° 9 0 0 Q 0 0 0 0 av ONIdIN 'OWHZ LZLZoooszL [EOLZt|
0 0 Oo 0 0 0 0 Q oO 0 0 0 HO AYNAIHL ‘GNOONO| ztzeszoors [ZoLZ L|
0 0 0 0 9 0 0 0 0 9 0 0 $3 SOTUVD TAONY ‘3 TvYs ZONNW Lrerstozed [LOLZt]
0 0 0 0 0 0 0 0 0 9 0 0 nv SAVE 'LHOINMLYWS $92L000S72 [oor Zt]
0 0 0 0 9 0 0 0 0 9 Q 0 HO VINWW 'NSYSHOSUSOINIM +P927Z00b2 [66021
0 0 0 a 0 0 0 0 0 Q 0 0 sn TISHOAVY 'AVEYNIN LOOPLOL == asoz

0 0 a 0 0 oO 0 O 0 0 0 0 sn NINS ‘OVSW ZLOPLoL 26021 |
0 0 0 0 9 0 oO 0 0 0 0 0 nv AMV 'SVHANVWNOZL 0611000522 J960Z LY
0 0 0 0 Q 0 0 0 0 0 0 0 sn SOINV ‘MWUBHS Zezztot —‘|S601|
0 0 0 0 9 0 0 0 0 0 0 0 sn viilosiud ‘aaais ezzztot —[reozt|
0 0 0 0 90 0 0 0 0 0 0 0 sn N3YYy IOONOIY LEGELOL E6OL1 |
0 0 0 0 0 0 0 0 0 0 0 0 sn N33TIOO ‘ASINVION 6O6LLOL © —[Z60Z1]
0 0 0 0 0 0 0 0 0 0 0 0 sn vidIdLWd "390 bezgLoL ‘Le OZ1|
0 0 0 0 0 0 0 0 0 0 0 0 nv VUV1 'SSNOHATAIS LerzoooszZ fo6oZ1|
0 0 0 0 0 0 0 0 0 0 0 0 ud SIOONVHd 'T3ULSd O&ZZ610092 J6B0Z1]
0 0 0 0 0 0 0 0 0 0 0 0 sn ATISINVG ‘Zivds 62rStoL —feBozt|
0 0 0 0 0 0 0 0 0 0 0 0 nv LT Ald SA3NIWON M3IH Zestoooszz |Zg0zt|
0 0 0 0 0 0 0 0 0 0 0 0 nv TBVHOIW ‘Suvad Bogtoooszz [oeoZt]
0 0 Oo 0 0 0 0 0 0 0 0 0 sn YOLSIA 'ANIZZIM SZSPLOL SBOLL |
0 0 0 0 0 0 0 0 0 0 0 0 nv WNVLLAS 'DNOO LZeLoo0szz [pB0Zt]
0 0 0 0 0 0 0 0 0 Q 0 0 av WN3Z GNV NSHd3LS Lis6Loo0zZ [eaozt|
0 0 0 0 0 0 0 0 0 0 0 0 av NOSvr 'HOMGax 69ELoo0szz |ZB0Z1|
0 0 0 0 0 0 0 0 0 0 0 0 nv SWA3VHO 'ONINSOH pizloooszz [L80Zt|
0 0 0 0 0 0 0 0 0 0 0 0 nv SIOOIN ‘LLAWavE rLsooo0szz o80Zt]
0 0 0 0 0 0 0 oO 0 0 0 0 nv MYVW ‘SAWS EL80000SZz [6zZ0Z |
0 0 0 0 0 0 0 0 0 0 0 a nv NHOP 'NOSNHOF zteoo00szz [82021
66 6 0 0 0 0 0 0 0 0 0 0 nv SONOS "BAL Ospooooszz |ZZ0Z1]
0 0 0 0 0 0 0 0 0 0 0 0 nv NHO?r 'ZOrL zstooooszz [9Z0Z4]
0 0 0 0 0 0 0 0 0 0 0 0 nv GIAVG "Tvs LbLooooszz |SZoz+|
0 0 0 0 0 0 0 0 0 0 0 0 sn BLNSOIA ONSTIVAVS Eslziol —[ezozt|
0 0 0 0 a 0 0 0 0 0 0 0 sn NOSITIv 'S3AI PzgtoL ——EZOZE
0 0 Oo 0 0 0 0 0 0 0 0 0 sn Wed NIFOAH 6ZZ9L0L IeZOZL]
o 0 0 0 0 0 0 0 0 0 0 0 sn STSVHOIW 'N3HOd LLozesL = [LZOZ4]
0 0 0 0 0 0 0 0 0 0 0 0 Li VNAUAS 'VUWAWZIWO ceZzS0008z [OZ0Zt]
0 0 0 0 0 0 0 0 0 0 0 0 av VIW IdOdtd1 szeLoooszz [690Z1|
0 0 Q 0 0 0 0 0 0 0 0 0 s3 YSONVX3IV 'T39v Sisecoo0es [as0Zt|
0 0 0 0 0 0 0 0 0 0 0 0 HO OGNVNIGUAS ‘WLISHOOvE ezz9R000r2 [29021
0 0 0 0 0 0 0 0 0 0 0 0 nv Nir 'N3HO ossoo00szz [99021]
0 0 0 0 0 0 0 0 0 0 0 0 nv 3NNV31 TowNvo z980000Sz2 [59024]
Oo 0 0 0 0 0 0 O 0 0 0 0 nv GLT Ald ALINDS OND B9S0000SZZ |r90Z L
0 0 0 0 0 0 0 oO 0 0 0 0 nv Vd OLN OSzOo0NSzZ ESOLt]
0 0 0 0 0 0 0 0 0 0 0 0 nv ONVYSN-SLNNODOVW SSV19 LSUld BEZO000SZL |Z90Z1]
0 0 0 0 0 0 0 0 0 0 0 0 sn WISONV 'NVWHONVT Lzztor ——[LSOZL|
0 0 0 0 0 0 0 0 o 0 0 0 lv GNVYLTWM 'N3TION e€82ez0002 [O90Z1|
0 0 0 0 0 0 0 0 0 0 0 0 nv USHdOLSINHD 'SIAUVD 9pLzoo0szZ |6S0Z1]
0 0 0 0 0 0 0 0 0 0 0 0 nv Av4 ONV NVWUON '39vud zpstoooszz [asoZt]
0 0 0 0 0 0 0 0 0 0 a 0 av NOUAG ‘agam essoooosez |ZsOZ4]
0 0 0 0 0 0 0 0 0 0 0 0 av S3SINdY3LN3 OOSANE Legstooozs [9S0Z1]
0 0 0 0 0 0 0 0 0 0 0 0 sa ‘TS SSYNLNIAQW 13484 GostecooeZ |SS0Z1]
0 0 0 0 Let 18 0 0 0 0 0 0 nv OIML "SNUNOBNIMS bzs6L000z2 [PSOZI|
0 0 0 0 0 0 0 0 0 0 0 0 nv O11 Ald ONILAWYVW YP 4 B96LO00Szz [ESOZt|
ve z6L 0 vez6L 0 0 0 0 0 0 0 0 0 ud NNVHOA 'SHAWIIHO bLLzPSoz9Z [25021]
0 0 0 0 0 0 0 0 0 0 0 0 nv VONAVH 'WHINHVW LesLoooszz [LSOZt]
0 0 0 0 0 0 0 0 0 0 0 0 nv NATWSOY 'N3LYWHO Szztoo0szz JosoZt|
o 0 0 0 0 0 0 0 0 0 0 0 nv ONO zetooo0szz |sroZt|
0 0 o 0 0 0 0 0 0 0 0 0 nv ASM¥L AIWY4 ATIS4 7d SHL o6tooo0szz |erozt|
0 0 0 0 0 0 0 0 0 0 0 0 sn OUNGAd 'SVONWA BezzLoL ~—|ZPOLE|
0 0 0 0 0 0 0 0 0 0 0 0 nv VONIT “TTENNOOOW es6loooszz |9roZt|
0 0 0 0 0 0 0 0 0 0 0 0 sn WAHsor ‘S319 soestol ——|svOzt]
0 0 0 0 0 0 0 0 0 0 0 0 nv BIN? ‘SSO ELsLoooszz [PyOZt|
0 0 0 0 0 0 0 0 0 0 0 0 nv VNOId 'NNATSO OLsLooaszz [EvOZT]
0 0 0 0 0 0 0 0 0 0 0 0 sn YOLOBH ‘OHOVWYS-ZILNO sszgtot ~—[zpozt]
0 0 0 0 0 0 0 0 0 0 0 0 aN N3HdALS ‘VWNOM Soarigcooe [LrOZt|
0 0 0 0 0 0 0 0 0 0 0 0 sn BINVHdaLS ‘vZuvo ces9l0l —‘|orOZ1|
0 0 0 0 0 0 0 a 0 0 0 0 sn WNOVHS ‘LOOWS +8000 [66021]
0 0 0 0 0 0 0 0 0 0 0 0 sn TAVHOIW "SONNE z9sooot ~——[aeozt|
0 0 0 0 0 0 0 0 0 0 0 0 3a NILUVW “TaMOI8 BZeezPg06e |ZE0Z1|
0 0 0 0 0 0 0 0 0 0 0 0 ON VINWIN VNiIV ‘SY3EGOu vesepizoze [9c0Zt|
0 0 0 0 0 0 0 0 0 0 0 0 4G NV ‘Ney pesrzbeoLe [SCOZ1|
0 0 0 0 0 0 0 0 0 0 0 0 ya Ta WONAVHIA 3TuSr9 Zzebzreots [PEOLt|
o 0 0 0 0 0 0 0 0 0 0 0 u OZN3UOIS ILNVAVHOIS Soz900082 |eeozt|
0 0 0 0 0 0 0 0 0 0 0 0 3a TAVHOIW 'HOSNENAYO Lgegeg06s \Ze0Z1
0 0 0 0 0 0 0 0 0 0 0 0 ud ¢ AWONAT 'Z3SsIvTgG ressegozsZ [LEOZt|
0 0 0 0 0 a 0 0 0 0 0 0 HO SV3YONV 'NSINHLVAVO bbLLLLoObL ocoZt]
0 0 0 0 0 0 0 0 0 0 0 0 sn HOIFTIHSV 'vZuvO essooot —‘|ézozt |
0 0 0 0 0 0 0 0 0 0 0 0 sn 33 ONSHO 6erlool —fazozt|
0 0 0 0 0 a 0 0 0 0 0 0 ON 3NOL ‘aMsno1 ogezzizoze [ZZoZt|
0 0 a 0 0 0 0 0 0 0 0 0 3a OUFOP OMLNNVH Zbegzza068 [9ZOLt]
0 0 0 0 0 0 0 0 0 0 0 0 3a Lioule ‘vanivx ezzzregoss |Sz0Zt|
0 0 0 0 0 0 0 Q 0 0 0 0 3a 7axv ‘TSGNNUD peoseeso6s |rzoZt|
0 0 0 0 0 0 0 0 0 0 0 0 sn VeNvT' SILA e90zool ~—fezozt|
0 0 0 0 0 0 0 0 0 0 0 0 nv AWW SITIO ‘GNVTYSHLIT Lpspoooeze [zzoZt]
0 0 0 0 0 0 0 0 0 0 0 0 av HOINIGOY ‘OSOUvdvo vEoozov0z [LZOZt]
0 0 0 0 0 0 0 0 0 0 0 0 av MAXONV ‘VEVINWNOW tsoboo0szz [oc0Z1]
0 0 0 0 a 0 0 0 0 0 0 0 sa VANVIOA ‘OGIDA 1wZ3439 696SE000EL [6L0Z1|
0 0 0 0 o 0 0 0 0 0 0 ° nv GNVYENSTIH WOIMLVd E9-0000SZZ |BLOZt|
0 0 0 0 0 0 0 0 0 0 0 0 nv BNNBIAIA ‘SMO OzLO000SZz [ZLOZt|
0 0 0 0 0 0 0 0 0 0 0 0 sn 1 YSSINNSP 'HLINS Lopes [QLOZL |
0 0 0 Q 0 0 a 0 Q Q 0 Q av VIHO19 'L13SSOd Léztoooszz [SLoz

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0 0 0 ° 0 0 0 0 0 0 0 0 ON CUVSSA FIOU NSWIAGNVS Lpis6tzoze [pLOZt
0 0 0 0 ° 9 0 0 0 0 0 0 3d LYSGHSH USAIN 9L96Ze9068 [ELOZI]
0 0 0 a 0 ° ° 0 0 0 0 0 sn VINYL 'NOXIG EdEa001 Z10L4]
0 0 ° 0 0 0 0 0 0 0 0 0 ud OM Nvar ‘NVAYOW Ozzop9az9z [LTGZL]
0 0 0 0 0 0 0 0 0 0 0 0 3a VNIDAY ‘VHOMAS 2642829068 [OTOL]
0 0 0 0 0 0 0 0 0 0 a 0 3a VIGNV19 ‘YaINWNZ 6yroseso6e [60021]
0 0 0 0 0 0 0 0 0 0 a 0 sn vSIT'soTivago 0s1zoot ~—-fgd0zt]
0 0 0 0 0 0 0 0 0 0 a 0 sn ANIMSHLW9 ' 3QVHOS Z4Z400L ZOOL]
o 0 0 0 a 0 0 0 0 0 0 0 sn yOlNGaS 'SsvuE ZLZLO0L 90021]
0 0 0 0 0 0 0 0 0 0 0 0 sn VOSIONVYS-VSSANVA 'VOINYVS bLsdoo! 50021 |
0 0 0 0 0 0 0 0 0 0 0 0 sn N331109 GNV SSWVP "SNAVHL 1190001 = [P0021]
a 0 0 0 0 0 0 0 0 0 0 0 sn AQNIW ‘43.430 S090001 O01]
0 a 0 0 0 0 0 0 0 0 0 0 ya LINSNOD LSN He09zbe0L8 |Z00Zt]
0 0 0 0 0 0 0 0 0 0 0 0 sn SN3TYV 'SAHM Z9L 100! ——[LOOZ |
0 a 0 a 0 0 0 0 0 0 0 0 3a 3NNIT HILSIDO7 N3IGAW bzS90%9068 [000Zt]
0 a 0 0 0 0 0 0 a 0 0 0 av 3I71S37 'NOSSIHM eotocoa0z2 [66691]
o 0 0 0 a 0 0 0 0 0 0 0 sn TS-NOSNIGOY 'VLISNU3E 660z00L —-fRGG9T|
o 0 0 0 0 0 a 0 0 0 0 0 sn Ola “LWGYSGNWA Loztool —|[Z66 91]
0 0 0 0 0 0 0 0 0 0 Q 0 sn AWY 'NOSQHVHOIY 18t}00L [86694
0 0 0 0 0 0 0 0 0 Q 0 0 sn wove "3109 0060001
0 0 0 0 0 0 0 0 Q 0 0 0 sn 1 'N371N9 o6sooot
0 a 0 0 0 0 0 0 0 0 0 0 sn USEWY ‘SSWIOH 4/2000!
0 0 0 0 0 0 a 0 a 0 0 0 ON OUd3d-OVOF ‘ZNO SWHNILYOD LLL ZbezOz8
0 0 0 0 0 0 0 a 0 0 o 0 as TSINVG ‘Y3GNV1Ga B9bLZ9b0r8
0 0 0 0 0 0 0 0 0 0 0 0 ya 3LL3SIT YSHLNIA OsbLSeeoLe
0 0 0 0 a Q a 0 0 0 0 0 ya YSLSd ‘HOON LeSLeceO18
0 0 a 0 0 0 Q a a 0 0 0 ud SNILUVW ‘SOT OTINH 9zbErzZ009L
0 0 0 0 0 0 0 0 0 0 0 0 ON N31SH SYG3A ‘BSL vwua!T Lse9S1Z028
0 0 a 0 0 0 0 a 0 a 0 0 av NOH ‘OG Lopooooszz
0 0 0 0 0 0 0 0 0 0 0 0 3a $!¥Oq ‘G10dI37 ZL06se9068
0 0 Q 0 0 0 0 0 0 0 0 0 nv GIAVG 'HLIWS bLpoo00sZZ |re6ot|
‘0 0 0 0 0 a 0 0 0 0 0 a sn OSNDVZ 'Z3ATSA ZSZLL01 E8691 |
o 0 0 0 0 0 0 0 0 0 0 0 sn NHO?P ‘dd LS OZ99101 z8691|
0 0 0 0 0 0 0 0 0 0 0 a sn VIAVLOO ‘LLODS S999/01 18691
o 0 0 0 0 0 0 0 0 0 0 0 nv AW 'NOSNHOP L60zo00sz [08631]
joo 0 ool 0 Q 0 oO 0 0 0 0 0 sn W NOGHOD ‘GOOMYIOLS 622ZE6L 52691]
0 0 0 0 0 0 0 0 0 0 Q 0 nv ONIid Nd 'N3HO eshLoo0szs [eZ691]
0 0 0 0 0 0 0 a a 0 0 0 nv SLLANNV 'NaHTWM eLeLoooses [ZZ691]
0 0 a 0 0 0 0 0 0 0 0 0 av SN3UI ‘WYHO soetoonszZ [8269]
0 0 0 0 zer zee 0 a 0 0 0 0 av NVSNS CNW NSYYWM 'NOSAWNIS POELOOOSZZ |SZ691]
0 0 0 0 0 0 0 0 a 0 0 0 HO SNATSAS ‘NOSMV1 Lb8z0z00bz [P2691]
0 0 0 0 0 0 0 0 0 0 0 0 av NITO9 ‘AT1Sy EZ0000S22 [EZ69L]
0 0 0 0 0 0 Q a a 0 0 0 ay ONIL ‘H138 zogeloo0z2 [22691
0 0 0 0 0 0 0 0 0 a 0 0 sn IOVUL 'YIAOND veZZLOL 169%
a 0 0 0 0 a 0 0 0 a 0 0 sn vane ‘GOOMALVS 81>ZLOL
o 0 Q 0 0 0 Q 0 0 a 0 0 sn BONNE ‘SSSYOUTONAd BOLZLOL
a 0 0 0 0 0 0 0 0 0 0 0 sn GIAVG ‘STLLI7 ezZL LoL
a 0 0 0 0 0 0 0 0 0 0 0 nv INSWOLIMVH ‘SW¥ITIM S9zz000s7Z
‘a 0 0 a 0 0 0 0 0 0 0 0 sn @ VINVW 'NOLSONV 9Sze6L
0 0 0 0 0 0 0 0 0 0 0 0 3a STIGAS 'SIUOH Zzzeve906a
0 0 0 0 0 0 0 0 0 0 0 0 nv SIAVG AHLONO ® NYTTV LZe0000szZ
0 0 0 0 0 0 0 0 0 0 a 0 sn VIHLNAD 'SLNSW319 veeLLoL
tase a Lise 0 Q 0 0 0 0 0 0 0 id V1 ODINAWYNIG ® SLBQVNYAE 6880Z0012
o 0 0 0 0 0 0 0 0 0 o 0 nw ANN3d 'G'1NO $z6L000Sz2
0 a 0 0 0 0 0 0 0 0 0 0 nv SANWW 'S3ATAM 0860000822
0 0 0 a a 0 0 0 0 0 0 0 nv GIAVG “Iwae eeeLoonszz
0 0 0 0 0 0 0 0 0 0 0 0 nv 3ISS3r ‘NOSNOUad LyeLoo0szz
0 0 0 0 0 0 a 0 0 0 Q 0 lv SLWN3Y ‘THYOV 7189620002
0 0 a 0 0 0 0 0 a 0 0 0 av gor ‘SLvaay ocoLao0szz
a 0 0 0 0 0 0 0 0 0 0 0 av GL1 Ald S3ILYAdOUd SNDILNO 0820000Sz2
0 0 0 0 0 0 0 0 0 0 0 0 av IMO9 ‘GvSvud ab Lo000sz2
0 0 0 0 0 0 0 0 0 0 0 0 av HL38VZI73 'S3NOF OLL0000SzZ
0 0 0 0 0 0 a 0 0 0 0 0 av YNNOG ‘AVMOTIVS LoLooooszz
0 0 0 0 0 0 0 a 0 0 0 0 sn WNOH ‘ONWA a699L0L
0 Q 0 0 a 0 0 0 a 0 0 0 sn NOL ‘NOSITIA 9PegtoL
0 0 0 0 0 0 0 0 0 Q 0 0 av STISHOIN ‘dlA 889000022
0 0 a 0 0 0 0 0 0 a 0 0 av YN3T7A 'SINVHS 9€9L000Sz2
0 0 0 0 0 a 0 0 o a 0 0 sn 3IT1Sy ‘LOVUE bEObLOL
0 0 a 0 0 0 0 0 0 0 0 0 sn SIMHO 'HOOH 6bzeeEt
0 0 0 0 0 0 0 o 0 a 0 0 av AYU ‘GOOMNSIND £/9z0000Z2
0 0 0 0 0 a 0 0 0 o 0 0 sn NVHLWNOP ‘SUSESSOTHOS ZI LbLOL
0 0 0 0 0 0 0 0 0 0 0 0 nv SNDv ‘OSOLNVS esZ0000szz
a 0 0 0 0 a 0 0 0 0 0 0 nv G11 Ald SLNSWLSSANI NVI 1sz0000szz
0 0 0 0 0 0 0 0 0 0 0 0 nv (zigizl@ 6yZ0000SZz
0 0 0 0 a 0 a 0 a 0 0 0 av G11 Ald SONIGIOH NATLWW bepoooNsZZ
0 0 0 0 0 0 0 0 0 0 0 0 nv OD NIM NIM NIM osca000s7z
0 0 0 0 a 0 0 0 0 0 0 0 sn IDOVW ‘AVaW EbpZLO1
lo 0 0 0 0 0 0 0 0 0 0 0 sn VQIHOU 'NVH» 6EbzLOL
a a 0 0 Q 0 0 0 0 0 0 0 sn 33S ‘ONVA OvBLLOL
0 0 0 a 0 0 Q 0 0 0 0 0 sn AHLOWIL 'SSYOLS 6E99LOL
0 0 0 0 0 0 0 0 0 0 0 0 sn SINNVP 'SS3H epootat
0 a 0 0 a 0 0 a a 0 0 0 av JOU 'ZVN3T pSPLoooszZ
a 0 0 0 0 0 0 0 0 0 0 0 sn HL ‘VAVLWW LL90EL
0 0 0 0 0 0 0 a 0 0 0 0 ya NaSdaf "SNUWre 89Z1EL0Le
0 0 a 0 0 a 0 0 0 a 0 a 3a SMINTN 'NVA YSHLNIG 181 bz9068
0 0 0 0 0 0 0 0 0 0 0 0 sn CIWNOG ‘'MVNIGHWS o900e2
0 0 a 0 0 0 0 0 0 0 0 0 sn VS3YSHL 'NOTAVL €p00ed
0 0 0 0 0 0 a 0 0 0 a 0 3a SHIN 'NANYSM oosoeeg068
0 0 0 0 0 0 0 0 0 0 0 0 sn d VOINOUAA 'SLIHM LegeeZ
0 0 0 0 0 0 0 0 0 0 0 0 30 SIMGNT ‘OUdvE 0591679068
0 a 0 0 0 0 0 0 0 0 0 0 34 TaXV 'SNUVH LppleLoosz
0 0 0 0 0 0 0 a 0 0 0 0 IN 34d3UL 3G SILOWOUd LYOdS ONILHOILS 080879E008
0 a 0 a 0 0 0 a 0 0 0 0 as WAHVA ‘HSWHSSHOIOOSNVZ 49Z999b0b8
o Q 0 0 0 0 0 Q Q a 0 0 3s VNNY 'NIAWDave 626ZESOre

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Case 1

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SLCSLSOGLSLIGSSSSOSSSSS SSS SSS SSS SS SSS SSIS SSO SO SOOO OOOO SOOT OOOO OOOO OSS OSS SOOO OOOO SSO SSSSSSSSSSSS

POOP QFQO2GQGQF9FR90R0F9DF909R9DG9CO CB ODDO COO OB eB BOSCO OBO OC OCC C OOOO OCC COC CODCOD COCO CC KC CC OOO CC OC OCC OO CoG CCCOCS

eoeneroe 22929 FAR99999R0999T 9990090000090 00C2 CCC ODDS ODD SD O DEB DOOR COO SC OOOO F ADOC CODD DB ODD G DOOD OOO OD OOCCCRO

PQ DOPDPPQPQSGFAFFRFFFOCSDOOC FBO D OB BO OOD OCD OOB OOOO COO COCO CO ODOC oC OCC OCC DDC ODOC ODOC OCC COC COCO OO CGO CCOGCS

eooger ggg g9N9 9999959099 FD9DFCBCCAGAO BOO OD OCOD OBO Ge G GOGO O COCO ODOC OCC COCO COCO OOD KC OCC OO OC OCOD ODDO OOB OCC COCO CCOG

eoggg ggg gag 99 BSC COD ADDO BOAO DAeOSGOD OD OCOD Oe BCBGOC OSD oCBG OOO eC COO OOD OG OC oO CCC OCC C OC OGC COC OCC OCC OCC OCC COCO GCCSO

eoonogegg ggg CBCP Seo SC ABB OOS BAe eG eB OOO COCO DBO ADCO G CODD COCO OOO OD COCO COCO OCC OO COC OC OC COO COC COO COC oGCCS

oooeggeegage ce oGOSD OS OSB e BOB DOO OaBoOeCO OBO CoO OO BGO COO OOOO O OGD OTC COC C OCC OOO COO OOOO COC OOOO OO COC OG OOo COOCGSG

jpgogoeoggease ogo OS So SOO OOD oO OO BOC O Be OC OC OS OO OOS oO oOCOO OOF OOOO GOC OOOO COCO DOOD OO OC OOOO OCC OCOD OOOO GOOOCOCCSD

eoo oo o9ggqgDF9C eC OSD ABO oS BONDS ABO BBO OSGOOD OOD AOD OOeC OO C OC OCD DOOD AGO OCGC COCO COCO COA GD COC OOo C OC OG O OC CGC CCS

eoooog ggg G99 FC ASCO BDO D OOS So OAS A SOOO OBC OCOD OD BOG OOO BOO OC CD OOC DOOD COCOA GC OCC OOO COO C OOO OCC OCOD DCO C OKC OOGG

joo ee goes e9a999DD CDF ABD G OSS SSCA O COS OOD COG OC OB AGB ACOO ODOC OCOoO OGD OGC ODOC COO OC OCC COO DCCC CCC OCC OC OC OG oCCCS

sn W NOLS3ud NSSNAYOS 6S1ZeZ i]
sn $ BOOVl 'ABIZINO ZOBLEL L|
sn 4 ANATYVG 'vITIDg9 ZL90e2 i]
3a YPNOS 'N3HOI3 bbZ619068 tl
yd AOMS SVNOP 'NSSH3Q3d EOPL6EEOLE L|
3a VAUCNY 'HOSISW ZzeZbz9068 L|
sn ANILSNONV ‘vulauad LeZEe2 L|
sn NAWYVO 'Z3NDSWA bOBLEZ L|
sn BIMATWA 'WIYL BOSLEL t
30 YVWLAIG 'NSDVHN3GauS ZZ1sze9068 1
ya W ANNY 'NSSN3LSINHO zozooreoLe
ud B1SSID ‘vNDSvd SbhLZSPO09L L|
sn YTINY 'NVHSVd g90872 t|
sn TINVG "IZQNS» L6ZEEL
sn | AGnr ‘Y3GINS stose6t
sn V YSHdOLSINHO 'NOLYON Feeles
sn NOWVG ‘SNYOHL OL9L LOL
sn VSSITAWGNY T3VHOIW 'SSHONH 9800L0L
a9 NGay 'YIGVO se66llozes
sn V3UNONV ‘NS TVM 0108001
sn TIVO 'NYSHLOO LEbZOOL
sn STAVO 'YSLSITIVOW 9112001
sn 3LL31HOO GNV Teva 'XNV3ARC PLLZOOL
a9 “OWNHO? ‘GISy zezzeezees
sn SNUYSAV1 ‘SdITIHd | Ze0LoL
sn AdOH 'SILSND 98b6001
sn N3A3LS 'NHONWA bosB0oL
sn SINNOY 'TSINVG egeeoot
IN TWNOLLVNYSLNI NVWISG LPoerscoos
sn Wadv TYOLVIDDVS ZOLZ001
ga SNILSINHO ‘SITAVHOIW 666EE79068
sn VLL3ON1 'NOSNHOP E960101
sn H1I31 'NVYVHS LS9OLOL
sn SIXS1v "SAONDSON 6PZ6001
HO Vid ‘IH13N7 6/2291 00b2
sn SVWOHL ‘NOL13 9962001
sn 1U38OU 'WH3IO 2292001
sn TAWLSAYM ‘SWNT POPPEsL
sn ASIN3G ‘MONA bZOZOOL
sn 3NOIG ‘WNHOLSY 6902001
sn VVNVG ‘S3INNND SzBEEL
sn f NOLSANd ‘TIVO ZLeeeL
sn YALSSY ‘OIOVSINOE +86Z001
3a SOLSIYHO 'SVVN 889r6t906e8
3a AIMYAD 'N314407 OFoz9E9068
sn SNINSHLVO ‘HONV1g BOSOEL
sn SA VIHLNAD 'LYSATVS LbbezZ
sn TVLY38ON 'MOINN oEOzeEZ
3a [4351S 'N3OINYH OEZLEQOEB
iv HLS8VSIS 'MSIVWS3INS €zezZZ000L
sn 2D ANOOAND 'SVLYSSNVY EOPLEL
sn VIDYO3S 'NOSNHO?P 60802
30 Z1LN1 ‘LYANN34 6z91S¢9068
3a LUYABUON 'IMSM3ZAZO bzEEZEOEE
sn VNVISSVO ‘NOSNOUW ZZp8zZ
sn VNAUNVT 'LIaLuve ebzeeZ
ud NIV1v 'ONINVW Z019Lz0092
sn NVING 'WOT10D Sébber
30 WPQWN 'HOS3 6581 Le9068
3a NILSY3y "SZINHOS ssEsezgo6e
ud VI SIQVIG ‘SLVNOX brl9pg0Z9Z
sn \ TAVHOIW 'Y31SS3» 966LE2
3a NAYWW 'ONITHSOM O6orreso6s
30 AWL Se9Lezgo6e
sn W 33N34 'YS1SVH OBE Led
qN SIOUVN 'NLIFN besLeoozos
sn d NVHLWNHO?F ‘3A S9POEZ
3a NVILSINHO 'HOINNSHOAW Z90bEe9068
HO LYS8T 'MSLIVWWd LLZELZ00bL
ud BHdOLSINHD “SNNVSP Z0SLLb0092
wa VTIN 'NASaLsnr gpeseeeors
sn NOA1 'LYSEI9 ZeZLEL
sn Tir ‘GQuoosy BepLes
3a N39OUSNP 'NSHOSIaM ssogocso6s
3d u313d 'NSSS3IHLLVW p2886z9068
ya M Y3dS3r 'NASNVH Lessoreole
wa 6661 ZL'0Z SV Sdv¥ LYOdSNVUL Z9619EE018
3a NW43LS 'NSTLSIZ9 pspovesoes
ul OUCNVSSSTV ‘LLLSYVS39 8st Psoo0Rs
Ll VSIM1 ‘OTTVO zL8esoo08Z
go MAXGNY 'NOLIVG z9/Sb/ze88
3a HOIWIN 'SIMAOLS tZpzze9068
sn AT1Sy ‘SdITHIHd Leozez
sn LUN 'NSGANS SbsoeL
30743 'NNVWYSOV ONNLSYLUSASTSGNVH PSb06z9068
sn VNONIS ‘44OZOOL LoEEeL
sn ILSI8M “TENN z90zEL
sn ALLBNAT ‘AMYVH S90zeL
as INNA? ‘MWWN319 1 Ze8bSbope
sn V VGNOHH ‘S301Y Zepbez
ud AUYAld ‘XNOYNOSIA OpsEzz009Z
gO d M3NGNv 'NIMUI L90zPzze8e
sn 1VOOA8SY 'XODTIM GELBZL
sn THVy MOINYSH ELSbEL

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Case 1

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0 0 Q Q Q 0 0 0 0 0 0 0 sn Nosvr ‘LUnd 6apred
0 0 0 0 QO 0 0 0 0 0 0 0 sn SOINV? 'SSVHO S690L0L
0 0 0 0 0 0 0 0 0 0 0 0 S3. NAWYYD 140 VINWW 'dvZV1 SSuVTIvd 996¢200082
0 a 0 0 0 0 Qo 0 Q 0 0 0 sn NIW "WIM ZSe600L
0 0 0 0 0 Q 0 0 0 0 Q Q HO YALA 'MSHIINY SLOLOZOObL
0 0 0 0 0 0 Q 0 0 0 0 0 sn dar ‘seoovr 9ssoLoL
0 0 0 0 0 0 0 QO 0 0 0 0 sn AMVIN 'LUFEaTY ZSZOLOL
0 a 0 a 0 0 0 0 a 0 0 0 HO. OSHL 'IMYANG E’Z80Z00bL
0 0 0 0 0 0 0 0 0 0 0 0 il GIAaG ‘OAWN vd GesosooosZ
oO 0 QO 0 0 0 0 0 0 0 o 0 ud ALN39S ‘GINS1IM P9EegzZs0092
0 0 Q 0 0 0 0 0 0 0 0 Qo sn WVHVu9 ‘NIMS 7206001
0 0 0 0 0 0 0 0 0 Q 0 Q sn Aauddar “MWZOWAZS 8S28001
0 0 0 0 0 0 0 0 0 0 0 a sn TSVHOIW 'NNYW 22>8001
0 QO 0 Qo Qo Qo 0 0 0 0 0 0 sn AUYD 'Z1FOUD 9918001
0 O 0 0 0 0 0 0 0 O QO 0 sn AONWN 'N3SYALAd ZZSt lol
0 0 0 0 0 oO oO 0 0 O 0 oO sn NvIuav ‘O9Nd ereoLaL
Q 0 0 0 0 0 0 0 0 9 0 0 sn VON3NG ‘359 9622001
0 0 0 0 0 0 0 a 0 0 0 0 HO LNSYNV1 ‘NOINV prEGEOOOr.
0 0 0 0 oO 0 0 Q 0 0 0 Q HO ATOGNY ‘MVENHA LSPOzZOOPL
0 0 0 0 0 0 0 0 0 0 0 0 sn GUVHOIY ‘AS TWLS 0S06001
oO 0 0 0 0 0 0 0 0 0 0 0 sn LYBEYON 'DOODSHS 206001
oO 0 0 0 QO Q QO 0 0 0 0 Q sn STOSIN 'N3T1V ZSpe00L
0 0 0 O 0 0 0 oO 0 0 0 0 sn OSINGON ‘VSONIdS3 6hrs00L
22 eho 0 LOPLE 0 Bells Oo ge bls 0 O 0 0 oO sa VINVW NYNP ‘YOOWNVSY NOPSyyOL 9Z69rLOLEL
0 0 QO Q 0 0 Q 0 0 0 0 0 sn N3AALS ‘GY¥MGOOM 998200L
0 0 0 0 Q 0 0 Qo Qo 0 0 Q sn OWVSI JNBO 'WASNNVTIIA 6582001
0 0 Q 0 0 0 0 0 a 0 0 0 sn SATYVHS ‘AFIOVH ZSSZ001 aL |
oO 0 QO 0 0 0 0 0 0 Q 0 Q sn SVIIS ‘USANOE 8296001 ab |
oO Q 0 0 Qo 0 0 0 0 0 0 0 sn SNAVM 'ZANILYYW 2296001 aL
0 0 0 0 0 0 Q 0 QO 0 0 Qo sn YNVus 'NNWdS 8Z€0L0L at |
0 0 0 0 0 0 0 0 0 0 0 0 HO AGNV 'MSNGV1 16EEZZO00bL a
0 Q Qo 0 0 0 0 0 0 0 0 0 HO ASOP ‘MDONAY 68SZOZOObL aL |
0 0 Qo 0 0 0 0 Q 0 0 0 0 sn INOP ‘ONIN BEOOLOL aL |
0 0 0 0 0 0 0 Oo 0 0 Qo 0 sn WW Yr ‘HOOD A¥y6001 at |
oO 0 0 Qo 0 0 0 0 0 0 0 0 HO NVILSINHO ‘IIHAOW ZegozZO0rZ ah
oO 0 0 Qo 0 0 0 0 0 0 0 0 sn GAL ‘C1aISYSLLNG $SZe0oL ah
0 oO 0 0 0 0 Q 0 0 0 0 0 sn GIVNOG 'STIVONI 6£78001 aL}
0 0 0 0 Q Qo 0 0 Q 0 0 0 vo NVI 'NSSNaP @€z800L aL]
0 0 0 0 0 0 oO a 0 0 0 0 sn au 'NOSUNOS P9200! Ly
0 0 a 0 0 0 0 0 Q 0 0 Q HO SYGNV ‘LSINGO LOZLOZOObZ Ly
0 0 0 0 0 0 0 0 0 Q 0 Q sn YNHSOF ‘Mad 89SLLOL 4
0 0 0 0 QO 0 0 0 0 0 Q 0 sn SNNVN1 'SSNGNS 6E60L01 LI
0 0 0 Qo 0 0 0 0 a 0 0 0 sn UY AGNIO 'ONILSAX-NOSMVT SBPSEEL aL
0 0 a 0 Q 0 0 0 Q 0 0 0 sn AMVW 'WOIMGNYS Z8LL Lob aL}
0 0 a 0 0 Q 0 0 a Q 0 0 HO S OTUIW ‘OVS OZO96E00r/ [eazgL}
oO 0 0 0 0 Q 0 0 a 0 0 0 sn TAONY 'OINSAMO PPSZO0L |L@Z94|
oO 0 0 0 0 a 0 0 0 Q 0 a HO IGSW3TS» "SAV €66S0z00r2 [08291 |
0 0 0 0 0 0 0 0 0 0 0 0 HO ANILSINHD ‘MASAM Z280%Z00b2 [62291 |
0 0 0 0 0 oO 0 0 0 Qo 0 0 sn NOASL ‘3DAGHOS 9620101 [@Z291 |
0 0 QO 0 0 0 0 0 0 0 0 0 HO VION1 ANOGHWN psOs6o0drs {24294
0 a 0 0 0 0 0 0 0 0 0 0 sn gsor 'S3uvZv9 @Z62001 9LL9L|
0 0 0 0 0 0 0 0 0 0 0 0 sn NINA ‘ASYMOG 0262001 SLL9t|
oO 0 0 0 0 0 0 0 QO QO Q 0 HO SNHUVW 'HAIIOAVYy $SS6LZOOPL [P2294]
0 0 0 0 0 0 0 0 0 0 0 Q il OlDUAaS 'ITISYOW E01Z900082 E2294 |
0 Q 0 0 0 0 Qo 0 0 0 0 0 HO WUGNVS ‘NSHOT ZZ0EZZO0bL |ZLZ9L)
0 0 0 Q 0 0 QO 0 0 0 0 0 sn GSSHVHS “WSINNVH 62p800L bLL9L]
0 0 0 Qo a Qo 0 0 0 0 0 0 sn WVITIIM 'SYIHSLIIM 681800L OLL9L]
lo 0 Q 0 Q 0 QO 0 a 0 0 0 i O10vd 'VLSMSONVAA ElPL900082 |69Z91]
oO 0 Q Qo 0 0 0 0 0 a 0 0 sn ADWUL ‘NVWGAINS 9086001 Ig9Z94]
0 0 0 0 0 Q 0 0 0 QO 0 0 sn WOIMa ‘GYOIMVYO 0220101 49291 |
0 0 0 0 0 QO Q 0 0 0 Q Q sn NOWAVG ‘SNINNVE PeLOloL 99291 |
0 0 0 a 0 0 Qo 0 QO 0 a 0 sn ANVIG 'NISSIND 286001 S9L91|
0 Q 0 Qo 0 0 0 0 0 0 0 0 HO ANWd 'MSIH3ANG LZEEOzZOOPZ [P9291]
ee ShL Q BE PEL Se OL Q 0 a 0 0 0 0 0 ZN NOLLVUOdHOD f 2D BLLLEL0S6Z [e9Z9L]
0 0 0 Q Qo 0 0 0 Qo 0 0 0 sn NHO? 'SNIVUYE OEZ6001 Z9L91 |
0 QO 0 0 Qo 0 0 a a 0 0 0 sn TISUIA 'LLSyuVvE 998001 LOZ9t|
oO 0 Q 0 0 0 0 0 0 0 0 0 sn VANVL 'ZANOSWA 6PEBO0L 09291 |
oO 0 0 0 Qo 0 0 0 0 0 Qo a sn MASINN? 'NYWIHIdS 9fE800L aL |
0 0 0 0 0 0 Q 0 0 0 0 0 sn BILLVH 'NATIV ppl ZooL aL]
0 0 0 0 0 0 0 0 0 0 0 0 sn TAVHOIW ‘GAO SZOLLOL aL
Oo 0 0 0 0 0 0 0 0 0 Q 0 sn OINOLNY 'HSNY Lz9600L aL
0 0 0 0 0 O 0 0 0 0 0 0 sn S3WVP ‘XSP LEPOLOL aL]
0 0 0 0 0 0 0 Q Q 0 0 0 vo OOVINID ‘OZNATVA PELPEGL
0 0 0 0 oO 0 0 O 0 0 0 0 HO AUYNSH 'S4VCOWIYS pO0s0z00b2 a1 |
0 0 0 0 0 0 Qo 0 0 0 0 0 vo Pf OIMVW ‘WITHA LZZecé aL |
0 0 Q 0 Q QO 0 Qo 0 0 0 0 sn NIAZ» 'NOSTAN bz0R001 LSZOL
0 Q 0 0 0 0 0 0 0 0 QO 0 sn lOUWW ‘LLAWONd- MAW Wd 7Z0800L Ly
oO 0 oO 0 0 0 O 0 0 o a 0 sn YSSITAW 'AUNSH 9222001 b}
0 0 0 Q 0 0 0 0 0 0 0 0 sn WHONVWS ‘ASTLNNH LPLZOoL LI
0 0 0 oO 0 Qo oO 0 0 0 0 0 sn LLVW 'SNOSEIS eZ 2001 |
0 0 0 0 0 0 0 Q Q 0 Qo 0 sn AWOAG 'ADIOVYS Zp9b Ob |
0 0 Q 0 eost ost 0 0 O 0 0 0 sn WYVW 'NOSNIGOYN FP9L LOL LI
0 Q 0 0 0 0 0 0 0 0 0 0 sn N3AALS 'NMONE ZSELLOL LI
0 0 0 Qo 0 0 0 0 Q 0 0 0 ya Wid 'NSSWOHL 6E9L8E€018 LI
0 Q 0 0 0 0 0 0 a 0 0 0 sn VON3NE 'NVWZND OZOLLOL L|
0 0 Q 0 va's6 0 ve'S6 Q Qo 0 0 0 wo OS VLITSWUVS 'OAWIAd Zt PesL +
oO 0 a 0 0 0 0 0 0 0 Q 0 sn 11348 ‘131uVve pbZZO0L L]
0 0 0 0 0 0 a 0 0 0 QO 0 sn SATYVHO 'SHSAW OLBOLOL LI
0 Q 0 0 Q 0 0 0 0 0 0 0 a9 IWUVAN 'SEW3W LSeeL 10288 |
0 0 0 0 0 0 0 Qo 0 Q 0 0 sn IMOIA 'FDUOAS veSZOOL |
0 a 0 0 0 0 Q 0 0 Q 0 a sn SIMM 'NSSSUG ¢ZS2001 LI
0 0 Q 0 0 0 0 0 0 oO 0 0 HO OTDWOW 'MIAVNITASSA $8S00Z00r2 L
0 0 0 0 Q 0 0 0 0 0 0 0 il ONVINGY ‘OONVIE 6967900082 LI
0 C Q Q Qo 9 0 Qo Qo Q 0 Q sn NAMHLV 'NIATOD 8886001

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Case 1

SESSHSASSGASSSCSOSSCOSGSCOSSGOSGSGSCOGCO OSC OOO OOOOOOOO OOOO OOODOOOOOOOOOOOOOOOOOOOOOO

iy BZOL

SSOSSSCSCSSSCOOCOCGCOCODOOOOO000

eooeoooosoesoooeCDO OBS BOO SOO oC OoOBG OOO oO OOOO CO OOOO OO BOO OOO OOOO COCO OO CAD OOOO COO OO OOOO OCC COO OCOD COC OC aGGCOGOO

eooceosceoss999 9 CoCo DOO OOO Ooo oO OO OBO BOO OOO OOO oC OOOO OO BOO OOOO eC OCC OOO OOCCO oOo

SS0DD0DDDGCDOOCGOM®OGCROAOCOCGCOCGCG

=

8zOL

eocoge 99999 SSG O SABO OSOABSOAGSG eo CBB BOOO ODO ODOC OOO ODOC OOOO OOO OOOO OOOO OOD O OOOO COCO COCO COO OOOO OOOO COO CCC OC OOO

eoo9eoZsr990NNePACASeADOOSCoOoOAOOAOeC ODO ao BOAO OOOO OOO OOo BDAC OOO OOOO OC OG ODOC OCC OGOCCSG
0

ELLE

Se90000005D9D0CcCeCOBOGCOCCOG00

po gereogg9e 992999 G9G999CAPSFSCOCODFD BAO SOAeBe9090CC eC AOG OOD OOB BDO OCAOOCO OOOO OOOO eC BO OOOO OCC OGD OC OOO CO ODO OOC COO GGoODO

eecsooaoscee9eDoOOSCOC OOS SOOO D OB OBO OOO OCOD OO OBO GC eC OOOO OOOO OCC OOO OOOO ODO CO GOCOOG00

ELLE

ee00c00FDcCCOD GOOF OBG0O000

eooooseognsgsgao9S99990FSeABSeSeeGCAOeO Bee oOOD OOO oO OOO COCO OOO BODO OOOO COO ADO OOOO GCC OOOO OOOO OOO KC OOOO CACC CCC CCC CC OOD

eegggeoeogooooCg9SCNCsS AoC OBCNDO OOO SCOAOO DOOD OOO OOD OBO OOO Oa D COO OOOO OOO OOOO AOOC OOO COC OCC OOO OOO OOO OCC COCO GC OOO OOD

egeoceonoeos9o9gocoOooOoOoO ONO BD oO ONO OOoCOC OO BODO BDO OBO OOO AOAO OOO BGO OC OOO BCC O OOO OOO OOO OOOO OOOO CO ODOC OCC CC OCC OOOO OOD

eeoeoeeseoscoosooSoSoeooCCC COFCO OCCSOOOC Oo oOoG Bao OOOO AaoOa BOO DO OOO BOG OOOO OOOO ODOC OOO COCO OC OOOO OOOO OC OOD COC OOOO G OOS

eeoaoenneces9SoCODeoOOSDSGASGOAGeOCAOOA Boe OO OOO DOO COO OO BO OOOO OOOO OO BOO OOOO DOC OCOOG OOOO OCC OO OCC OC O COC C OCC OoOGSG

ud GYVHOIY ‘OIrT38 e89bPS0Z9z
ua 3713V9 ‘GYvSSOS LbBrP90L9L
sn BNILSINHO ‘ONdOTS 0898001
sn SNVIGNIT 'SILINHS @ZELLOL
sn SIAVUL 'NSON3dS E6E8001
sn NVA 'NOSYSCNSH 8912001
sn ANOHLNY ‘OITIV9 Ze69001
sn TANOIW ‘VOSA bOPLLOL
HO HV13 GUWHOIY ‘ONOASNMVL SS0Z€000bZ
sn 3d 3G 'SOZVAVO €8bZ001
sn VIHLNAS 'SSVIONOG BrLOLOL
s3 TS ONILINSNOOD NASNVH PrLBOLooEL
sn TAVHOIN 'ALT3M 1S9800L
sn ATHASINIX 'NASSYG Sh98001
sn AMWIN ‘LUVMALS £908001 tZ9L
sn YASINNSP 'MSNYNL SSOB00L LZgL
sn VIN73HL 'NILUWW ZB90L0L tZ9L
sn NIA3™ 'SINHOW bEEBOOL List
sn YU MOIN 'IGTVSV9 BEzZZOL LZ9b
sn 4 3IM1ay ‘AVEO 208ZZ01 VZ9F
sn V 39AOU ‘31S IVG EBeLZor 1291
sn ONLNY ‘Ur ZvId SLELZOL bZ9b
sn C VANONV 'SINNWH LZELZOL tZ9L
ud STISSVS! ‘NSASHL pZEsosoogZ |6OZ9F
3a VXINOW ‘SNYV 625299068 [80291
ud GIAVG ‘OuVYODAd O61 1z90z92 |[Z0Z91
3S VNILSINHO ‘GOONsY 049612bOb8 |90Z9L
sn AMSHLLYW 'Z3YNSILND Z9Z0Z01 ZOE
sn NaYvy GNV SLL3IMNP ‘ONOOT F9z0z0L OZSL
sn W 1nvd ' NSONISIA 6SPOZOL OZ91
sn W 71M ' S3SWYNOW 6rE6g0L OZSt
sn W NOGNV&d ' NNISVH 6291201 OZ9L
sn vilid ' vav1 seszZoL Ooz9t
sn VIHLNAS GNV ASNGOU ' 13AV19 6261201 66991 |
sn 1 SaWvr " ONOULS BEGLZOL |
sn AGN ' SLITIM ZP9LZOF L|
sn 1N334NOO ' AZNSS3H LP9LZoL L|
sn W VN3G ' NISHOSGN38V ZZOLZOL
30 SMU ‘WHI O6z9SP9068 t]
sn ANINSHLVS 'SSOOW ErE690L
HO OIGNW19 ‘VWIY Se9eesooPZ
sn ANVIYG ' ONITENE 6Pg6g01
sn BOP ‘ur LWaLOd 26£€201
3d f3SX3Tv ‘MOULSd Szeel P9068
ud N3ILSV@3S 'NSINYVD 9EB0z90Z92
sn © NIAZ ' TWH 9698201
VONVZNS 'NSHOVTIVS 13 NITZOAOP 'N3IMNP ZZLeEZOL
ud ANILSINHD 'NNVW3938 1200zS0092
sn f VINWN ‘ ZILYO bBLEZOL
sn NAYYVG "YS HLIWS ELEZZOL
sn WHO ' SONA OLEZLOL
ud SSIOONVUS 'ASSSNAW 6SerlsoogZ
ON SUSONV Td ‘GVISHVTIVL €z98bez028
1N AUYGNV 'NSyMAG SOZPELE008
aa N39uNF 'ZL3I0 Leoezpoo6e
30 JTVY ‘NSHOVWHNHOS ebbeePsoss
sn GGIAVG 'N3MO8 Z9LS68L
aq VUVEYVE 'SOTONVH Lerozsso6e
sn SSING ‘ 1374IHS EZ9LZOL
3a FIOOIN ‘a3OLSVO e9z6ebr9068
sn O VNHSOF ‘SANOP 90zzZ01
3a NNVWH3H 'N39uE OL9sbbg068
sn V Use ‘NLT Z6zzZoL
sn GANOL 'SNV1 céprEsL
sn ANITANDOVE ' VZuVdS3 S66LZ01
il ONILNATWA ‘ONVSSVW EZLZ1Z0082
sn H GUVHOIY 'LSY3D 76ELZ0L
3a NALSUIM 'SONIY $Z699b9068
sn LLOOS ' AVGITIOH O6€6901
Ll OUL3Id ‘INVITDWd 61Z2tz0082
i OWSY ‘S0wvuvs 9/¢77z0082
3a Wal Wvs e8ezbpgo6e
3d VPNV 'NSSNVHSLY3830 LL Bssso6e
sn GVUVNVL ' LSSMS p97Z1Z01
3a VLLOP ‘37a L0Ze2p9068
sn 1 SN3TuV ' NOLONIHSWM SE9EZ0L
sn 720 ' ALLW38 GEOEZOL
sn TSVIONOd ' TIASNVW 19ZZZ01
ud ALLAYNId "SG31dSAW 924609092
sn S1Nvd ‘VEAGNYY bbZzZoL
a9 BOIANSS AONVLINSNOOD VLVO LeLZ22z989
go 4 GANVHOW 'SEW39NTWM of6po8ze8s
sn W ABTMIHS ' YSGANS 0912201
sn 4 SINVW 'NOSUSGNVS egsbest
qN AGNAM ‘VULSNOOS 1Szbhb/E008
sn NSW ' ONVA ZLBZZ0F
sn VONVIG ‘NVOIND LZLZOL
nv IMVIHSOL ‘WMVANNN 7172800072
sn f LYSGON 'SHL4IYD bZ90/0b
sn VSINVW ' WINS P990Z0L
sn LSSYNOS 'HLYOMSSTYVH SpbesoL
sn Nvar ‘OTIVONVd bOLOZOL
sn ANAUVM ' MALLIY PEEEZOL

30 WINSYN IGISH 'NNVWOSIM-WWAHL bStpss9068
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